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OWYHEE COUNTY; and THREE CREEK GOOD ROAD DISTRICT, OWYHEE COUNTY,
Plaintiffs.

                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF IDAHO

OWYHEE COUNTY, STATE OF IDAHO; GEM             )             Case No.
HIGHWAY DISTRICT, OWYHEE COUNTY; and           )
THREE CREEK GOOD ROAD DISTRICT, OWYHEE         )             COMPLAINT FOR
COUNTY,                                        )             DECLARATORY
                                               )             JUDGMENT, OR IN THE
            Plaintiffs,                        )             ALTERNATIVE, FOR QUIET
   v.                                          )             TITLE
                                               )
UNITED STATES OF AMERICA,                      )             DEMAND FOR JURY TRIAL
                                               )             ON FIRST AND SECOND
            Defendant.                         )             CLAIMS FOR RELIEF
______________________________________________ )

       OWYHEE COUNTY, GEM HIGHWAY DISTRICT, and THREE CREEK GOOD

ROAD DISTRICT (cumulatively referred to as “Plaintiffs”) allege:

                                  PRELIMINARY STATEMENT

1.     Plaintiffs rely upon several public rights-of-way across the public lands in Owyhee

County, State of Idaho. See Idaho Code § 40-117(9) (definition of “Public right-of-way”). These

rights-of-way provide, among other things, the necessary use and access by the road employees,

law enforcement employees, other employees, contractors, agents, and citizens of Owyhee

County (and other citizens) for a variety of lawful purposes upon the public lands in Owyhee
COMPLAINT                                                                                        1
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County, including essential County emergency and law enforcement purposes within Owyhee

County, and including the necessary use and access to mining claims, to private land, and to

Idaho State land within Owyhee County. This complaint is only applicable to the public lands

owned by the United States of America; not to any private land or Idaho State land.

2.     These several public rights-of-way exist across public lands owned by the United States

of America (“USA”) and administered by the U.S. Department of the Interior, Bureau of Land

Management (“BLM”), within portions of the Boise BLM District and within portions of the

Twin Falls BLM District; all within Owyhee County, State of Idaho.

3.     These several public rights-of-way are R.S. 2477 rights-of-way: (a) as a result of an

Idaho Road Validation process completed in accordance with Idaho Code § 40-203A (as alleged

in the First Claim for Relief); (b) as a result of BLM’s own administrative determination and

grant (as alleged in the Second Claim for Relief); (c) as a result of a “positive act of acceptance

by the local government” (as alleged in the Third and Fourth Claims of Relief); and/or, (d) as a

result of “compliance with the road creation statutes in existence at the time” (as alleged in the

Fifth and Sixth Claims for Relief).

4.     Plaintiffs bring this action to “declare the rights and other legal relations” under the

Federal Declaratory Judgment Act, 28 U.S.C. § 2201(a), or in the alternative, under the Federal

Quiet Title Act, 28 U.S.C. § 2409a, relative to the status of each of these roads as public rights-

of-way under R.S. 2477 under Idaho State law. This alternative relief is alleged because the

Plaintiffs are faced with the conflicting positions from the USA as to whether the USA disputes

each of these roads as public rights-of-way under R.S. 2477; giving reason for the First and

Second Claims for Relief being filed under the Federal Declaratory Judgment Act, and giving

reason for the Third, Fourth, Fifth, and Sixths Claims for Relief being filed under the Federal
COMPLAINT                                                                                             2
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Quiet Title Act.1 Plaintiff sought clarification from the USA as to its position before filing of this

Complaint, but the response from the USA was equivocal; leaving the Plaintiffs in the

irreconcilable position of needing to file its Complaint within the required 12-year statute of

limitations under the Federal Quiet Title Act, 28 U.S.C. § 2409a(j), or else forever foreclosing to

the Plaintiffs and its citizens the ability to adjudicate such rights of way under R.S. 2477.

5.     Plaintiffs seek -- under the First Claim for Relief -- to “declare the rights and other legal

relations” under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201(a), that: (a) the

Plaintiffs duly completed Idaho Road Validation in accordance with Idaho Code § 40-203A via

Findings, Conclusions, and Order dated February 25, 2020, which found, concluded, and ordered

that each of the roads identified in the Third, Fourth, Fifth, and Sixth Claims are public rights-of-

way under R.S. 2477; (b) the USA did not challenge the process or timely seek judicial review of

the Findings, Conclusions, and Order dated February 25, 2020, as it was entitled to do under

Idaho Code §§ 40-203A(4), 40-208(1); and (c) the Plaintiffs’ Findings, Conclusions, and Order

dated February 25, 2020, are effective and controlling against the USA and all third-parties.

6.     Plaintiffs seek -- under the Second Claims for Relief -- to “declare the rights and other

legal relations” under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201(a), that: (a)


1
  See Nemeth v. Shoshone County, 165 Idaho 851, 453 P.3d. 844, 849 (2019) (wherein the Idaho
Supreme Court stated that “We agree that where title to Federal land is disputed, including a dispute
over ownership of a right-of-way, the QTA provides the designated method to adjudicate the
controversy. However, “[f]or a title to be disputed for purposes of the QTA, the United States must
have adopted a position in conflict with a third party regarding that title.” … Where title is not
disputed, the waiver of sovereign immunity provided by the QTA does not apply. … Accordingly,
where the United States has not expressly disputed the existence of an R.S. 2477 right-of-way or
taken an action that “implicitly disputes” the right-of-way, federal courts do not have jurisdiction to
hear a claim against the United States under the QTA. … The QTA, however, does not preclude
state courts from validating federal land rights-of-way under R.S. 2477 because the QTA only
allows a federal court to conduct its own validation analysis where title is disputed.”).

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Owyhee County completed and submitted to BLM an Application for Transportation and Utility

Systems and Facilities on Federal Land dated March 28, 1984, identifying roads as public rights-

of-way under R.S. 2477, as identified in the Third and Fifth Claims for Relief; (b) the USA,

through BLM, recognized and granted such application on April 3, 1984 (and modified over

time); and, (c) the USA’s grant is effective and controlling against the USA and all third-parties.

7.     In the alternative to the First and Second Claims for Relief, Plaintiffs seek -- under the

Third, Fourth, Fifth, and Sixth Claims for Relief – to quiet title under the Federal Quiet Title

Act, 28 U.S.C. § 2409a, that these roads are public rights-of-way under R.S. 2477 under Idaho

State law as a result of: (1) a “positive act of acceptance by the local government” (as alleged in

the Third and Fourth Claims for Relief), or (2) “compliance with the road creation statutes in

existence at the time” (as alleged in the Fifth and Sixths Claims for Relief). See Flying “A”

Ranch, Inc. v. County Commissioners of Fremont County, 342 P.3d 649, 654-655 (Idaho 2015)

(citing Galli v. Idaho County, 146 Idaho 155, 159, 191 P.3d 233, 237 (2008); see also Act of

July 26, 1866, ch. 262, § 8, 14 Stat. 251, 253, codified at 43 U.S.C. § 932, repealed by Federal

Land Policy Management Act of 1976 (“FLPMA”), Pub.L. No. 94-579 § 706(a), 90 Stat. 2743

(hereinafter referred to as “R.S. 2477”), subject to valid existing rights. See County of Shoshone

v. United States, 912 F.Supp.2d 912, 915 (D.Idaho 2012) (wherein the Federal District Court

stated that “[e]ven though FLPMA repealed R.S. 2477, it nonetheless preserved any rights-of-

way that existed before FLPMA’s October 21, 1976 effective date, and any such qualifying

rights-of-way remain valid today. See 43 U.S.C. § 1769(a)”).

8.     In addition, Plaintiffs bring this action to adjudicate that the Plaintiffs have the right and

interest to maintain these several rights-of-way as they cross the public lands owned by the USA

consistent with Idaho law and within the scope as alleged herein.
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                                 JURISDICTION AND VENUE

9.     The basis of federal jurisdiction is 28 U.S.C. § 1331 (Federal Question). See also 28

U.S.C. § 1346(f) (“The district courts shall have exclusive original jurisdiction of civil actions

under section 2409a to quiet title to an estate or interest in real property in which an interest is

claimed by the United States.”). The federal question relates to the application of the Act of July

26, 1866, ch. 262, § 8, 14 Stat. 251, 253, codified at 43 U.S.C. § 932, repealed by Federal Land

Policy Management Act of 1976 (“FLPMA”), Pub.L. No. 94-579 § 706(a), 90 Stat. 2743

(hereinafter referred to as “R.S. 2477”), including the federal regulations promulgated thereunder

between 1983 and 1985, relating the certain rights-of-way across the public lands owned by the

United States of America as alleged in this Complaint.

10.    The basis of venue is: (a) 28 U.S.C. § 1391(b)(2) (A civil action. Where a substantial part

of the property subject to the action is situated); and, (b) Dist. Idaho Loc. Civ. R. 3.1 (A civil

action arising within Owyhee County is to be within the U.S. District Court, District of Idaho,

Southern Division).

                                    PARTY INFORMATION

11.    Plaintiff, OWYHEE COUNTY, STATE OF IDAHO (“Owyhee County”), is a duly

established county within the State of Idaho. See Idaho Code §§ 31-101, 31-139. Owyhee

County is a public entity managed by a board of county commissioners. Idaho Code §§ 31-701,

et seq. Owyhee County, by and through its Board of County Commissioners, have the

jurisdiction and power over the county as prescribed by law. Idaho Code § 31-801. This

jurisdiction and power is inclusive of a range of local governmental services and activities for

and over its citizens, residents, and property-owners, including but not limited to, road

construction, road maintenance, law enforcement, emergency medical services; all of which
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depend on access to, on, and along roads, including the several public rights-of-way subject to

this Complaint within the area illustrated on Exhibit “A”, which is attached hereto and

incorporated herein to this Complaint. Idaho Code §§ 31-801,et seq.; see also Idaho Code §§ 31-

805, 40-604. It should be noted that Owyhee County has sometimes used “Owyhee County

Road & Bridge District” in identifying its use and authority as to the roads within its jurisdiction,

but the “Owyhee County Road & Bridge District” is just a name used by Owyhee County and is

not a jurisdictionally separate agency or entity of Owyhee County.

12.    Plaintiff, GEM HIGHWAY DISTRICT, OWYHEE COUNTY (“GHD”), is a duly

established road district within the State of Idaho by the Owyhee County Commissioners via

Owyhee County Commissioner Record, Book 5 at pages 489 to 492, dated March 6, 1917, in

accordance with Idaho Code § 40-201 and Idaho Code §§ 40-1301, et. seq. GHD is a public

entity managed by a board of commissioners. Idaho Code § 40-1303. This jurisdiction and power

is inclusive of the “general supervision and jurisdiction over all highways and public rights-

of-way within their highway system, with full power to construct, maintain, repair, acquire,

purchase and improve all highways within their highway system, whether directly or by their

own agents and employees or by contract”, including upon the several public rights-of-way

subject to this Complaint within the area illustrated on Exhibit “A”, which is attached hereto and

incorporated herein to this Complaint. Idaho Code § 40-1310(1); see also Idaho Code §§ 40-

1310(2) to 40-1310(10).

13.    Plaintiff, THREE CREEK GOOD ROAD DISTRICT, OWYHEE COUNTY

(“TCGRD”), a duly established road district within the State of Idaho by Owyhee County

Commissioner Record, Book 8 at pages 70-83, dated August 13, 1926, in accordance with Idaho

Code §§ 40-1301, et. seq. TCGRD is a public entity managed by a board of commissioners.
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This jurisdiction and power is inclusive of the “general supervision and jurisdiction over all

highways and public rights-of-way within their highway system, with full power to construct,

maintain, repair, acquire, purchase and improve all highways within their highway system,

whether directly or by their own agents and employees or by contract”, including upon the

several public rights-of-way subject to this Complaint within the area illustrated on Exhibit “A”,

which is attached hereto and incorporated herein to this Complaint. Idaho Code § 40-1310(1);

see also Idaho Code §§ 40-1310(2) to 40-1310(10). It should be noted that TCGRD has

sometimes used “Three Creek Highway District” in identifying its use and authority as to the

roads within its jurisdiction, but the “Three Creek Highway District” is just a name used by

TCGRD and is not a jurisdictionally separate agency or entity of TCGRD.

14.    Defendant, UNITED STATES OF AMERICA (“USA”), is the owner of the real property

upon which the several public rights-of-way exist, as illustrated by map in Exhibit “B”, which

are attached hereto and incorporated herein to this Complaint. Plaintiffs have more detailed maps

of each of the several public rights-of-way, which are not appended to this Complaint due to the

size and scope of each of the maps, but, in the meantime, each of these maps are available online

at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.). This real property

is administered by the U.S. Department of the Interior, Bureau of Land Management, which is an

administrative agency of the USA.

                                             FACTS

            I. LEGAL DESCRIPTION OF THE SEVERAL RIGHTS-OF-WAY.

15.    The several public rights-of-way subject to this Complaint are illustrated by map on

Exhibit “B”, as they cross the public lands owned by the USA in Owyhee County. In lieu of
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appending to this Complaint many maps, the maps that more particularly illustrate the location

and related legal descriptions of the rights-of-way subject to this Complaint are available online

at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.), and can be made

part of this Complaint or part of the record in this case at the request of the Court or the

Defendant.

                II. LAND STATUS OF THE SEVERAL RIGHTS-OF-WAY.

16.    The land status of the real property upon which the several public rights-of-way exist

across the lands owned by the USA, as illustrated by map on Exhibit “B”, is “public lands”, as

defined by the Federal Land Policy and Management Act, 43 U.S.C. § 1702(e).

17.    Between March 4, 1863 and July 2, 1890, the real property subject to this Complaint was

part of the Idaho Territory, since the USA officially designated the real property within what is

now the State of Idaho as a territory of the United States on March 4, 1863 (12 Stat. 808), and

since the USA officially established the State of Idaho as a State on July 3, 1890.

18.    Between March 4, 1863 and the filing of this Complaint, this real property was part of the

public domain (aka public lands) and remains a part of the public lands of the USA, as defined

by the Federal Land Policy and Management Act, 43 U.S.C. § 1702(e).

          III. THE CREATION OF THE SEVERAL PUBLIC RIGHTS-OF-WAY.

                                  A. THE “OWYHEE” NAME.

19.    The name “Owyhee” derives from an early Anglicization of the Hawaiian term

“Hawai’i”. When James Cook encountered what he named the Sandwich Islands (now the

Hawaiian Islands) in 1778, he found them inhabited by Native Hawaiians, whom the Anglo-

Americans referred to as “Owyhees.” Noted for their hardy physique and maritime skills,
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numerous Native Hawaiians were hired as crew members aboard European and American

vessels. Many Owyhee sailed to the American Northwest coast and found employment along the

Columbia River, where they joined trapping expeditions or worked at some of the fur trade posts.

20.      In 1819, it is believed that three Owyhees joined Donald Mackenzie’s Snake River

expedition, which went out annually into the Snake River country for the North West Company,

a Montreal-based organization of Canadian fur traders. The three Hawaiians left the main party

during the winter of 1819-1820 to explore the then unknown terrain of what since has been

called the Owyhee River and mountains. They disappeared and were presumed dead; no further

information regarding their whereabouts has been found. In memory of these Native Hawaiians,

British fur trappers started to call the region “Owyhee” and the name thereafter continued to be

used.

                                  B. EARLY EXPLORATION.

21.      Exploration, use, and development of real property within what is now Owyhee County,

State of Idaho, likely began in earnest in about 1836, with the creation and use of the Oregon

Trail, which traversed near or along the Snake River while it crossed what is now the State of

Idaho.

22.      The creation and use of the Oregon Trail and similar interests resulted in the settlement

of the lands within what is now the geographical boundary of Owyhee County, State of Idaho.

Settlement occurred for a variety of lawful purposes, including mining, farming, ranching, and

other commercial activities; resulting in citizens and Plaintiffs establishing several public rights-

of-way across the public lands in Owyhee County, State of Idaho, through 1948.




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C. OWYHEE COUNTY and USA ACTIONS AS RELATED TO THE SEVERAL PUBLIC
                          RIGHTS-OF-WAY.

23.    Due to at least the activity alleged in the paragraphs above, Owyhee County faced a

dilemma in 1948. It was apparent that Owyhee County had more than several public rights-of-

way constructed across the real property in the County to access, among other things, public

lands, mining claims, homestead entries, private land, and Idaho State lands for a variety of

lawful purposes. The ability to maintain these several rights-of-way was a fiscal challenge for

the County, and the County did not have an individual road record for the several rights-of-way.

Based thereon, the Board of County Commissioners for Owyhee County adopted “County Road

OR Highway Ordinance No. 1” on May 10, 1948, wherein it was stated:




See Owyhee County Commissioner Minutes, Book 11 at page 249, dated May 10, 1948.



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24.       The Ordinance adopted on May 10, 1948, intended that “all roads and highways not so

designated and recorded in the County Highway Book, be and the same are hereby abandoned as

County Highways, as unnecessary to the Public convenience”, except as otherwise thereafter

established. See OCC Minutes, Book 11 at page 249, paragraph #2, dated May 10, 1948.

25.       Consistent with the Ordinance adopted on May 10, 1948, the Board of County

Commissioners for Owyhee County adopted a Resolution dated June 14, 1948, wherein it was

stated:




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                                                                      Intentionally left blank




See Owyhee County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948.

26.    The Resolution dated June 14, 1948, created by a positive act of acceptance by Owyhee

County several public rights-of-way, as specifically identified in said Resolution, in accordance

with applicable Idaho State law. These several public rights-of-way are further alleged in the

Third and Fourth Claims for Relief herein.

27.    In addition, the Board of County Commissioners for Owyhee County, by a positive act of

acceptance on December 18, 1950, added several other public rights-of-way, in accordance with

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applicable Idaho State law. See Idaho Session Laws approved March 9, 1950, 1st Extraordinary

Session, Chapter 87, Sections 4(b), 12. The Minutes dated December 18, 1950, stated that:




See Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

28.    The minutes dated December 18, 1950, created by a positive act of acceptance by

Owyhee County for several other public rights-of-way, as specifically identified in said minutes,

in accordance with applicable Idaho State law. These several public rights-of-way are further

alleged in the Third and Fourth Claims for Relief herein.



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29.    In addition, the Board of County Commissioners for Owyhee County, by a positive act of

acceptance on December 9, 1974, added several other public rights-of-way, in accordance with

applicable Idaho State law. See Idaho Session Laws approved March 9, 1950, 1st Extraordinary

Session, Chapter 87, Sections 4(b), 12. The Minutes dated December 9, 1974, stated:




See Owyhee County Commissioner Minutes, Book 12 at pages 192, dated December 9, 1974.

30.    The minutes dated December 9, 1974, created by a positive act of acceptance by Owyhee

County for several other public rights-of-way, as specifically identified in said minutes, in

accordance with applicable Idaho State law. These several public rights-of-way are further

alleged in the Third and Fourth Claims for Relief herein.

31.    In addition, the public continued to use and Owyhee County continued to periodically

maintain several other public rights-of-way between June 14, 1948 and October 21, 1976, as

provided for in Idaho Code § 40-202(3), which states in applicable part that “all highways used

for a period of five (5) years, provided they shall have been worked and kept up at the expense of

the public … are highways.” These several other public rights-of-way are further alleged in the

Fifth and Sixth Claims for Relief herein.

32.    Given its several public rights-of-way created on June 14, 1948, on December 18, 1950,

and/or on December 9, 1974, and given the several other public rights-of-way established by use
COMPLAINT                                                                                         14
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and maintenance between June 14, 1948 and October 21, 1976, the Board of County

Commissioners for Owyhee County made application and assertions to the USA as to its several

public rights-of-way under R.S. 2477. This occurred by at least two different means.

33.    First, this occurred by an “Application for Transportation and Utility Systems and

Facilities on Federal Land” dated March 28, 1984, wherein it was stated that:

       These are existing roads authorized under authority of R.S. 2477 which has been
       repealed, and these roads must now be recorded as rights-of-way under authority
       of P.L. 94-579. (List a standard width and reference the maps for location of
       roads.) See attached maps for location of roads which are maintained by Owyhee
       County Road and Bridge Department. All roads to be 60 feet in width. Roads on
       section lines to be 30 feet each side of section line.

See Application for Transportation and Utility Systems and Facilities on Federal Land” dated

March 28, 1984, at page 1. This Application included specific maps, identifying the location of

the public rights-of-way subject to the application.

34.    The Application dated March 28, 1984, was submitted by Owyhee County to the USA

based upon rule duly promulgated by one of its own administrative agencies, i.e. U.S.

Department of the Interior - Bureau of Land Management (“BLM”). The rule stated:

       In order to facilitate management of the public lands, any … local government
       which has constructed public highways under the authority of R. S. 2477 (43
       U.S.C. 932, repealed October 21, 1976) may file a map showing the location of
       such public highways with the authorized officer. Maps filed under this paragraph
       shall be in sufficient detail to show the location of the R. S. 2477 highway(s) on
       public lands in relation to State or county highway(s) or road(s) in the vicinity.
       The submission of such maps showing the location of R. S. 2477 highway(s) on
       public lands shall not be conclusive evidence as to their existence. Similarly, a
       failure to show the location of R. S. 2477 highway(s) on any map shall not
       preclude a later finding as to their existence.

43 C.F.R. § 2802.5(b) (10-1-1983, 10-1-1984, 10-1-1985 Editions); see also 45 Fed.Reg. 44526

(7-1-1980), as amended at 47 Fed.Reg. 12570 (3-23-1982); 47 Fed.Reg. 38806 (9-2-1982).


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35.    While Section 2802.5(b) (10-1-1984 Edition) stated that submission of such maps “shall

not be conclusive evidence” as to the existence of public rights-of-way under R.S. 2477, the

USA reviewed Owyhee County’s Application dated March 28, 1984, through its agency, BLM,

and granted Owyhee County an indefinite right-of-way grant under R.S. 2477 as to several of the

public rights-of-way subject to this Complaint

36.     This grant by the USA was memorialized in (at least) a Letter dated April 3, 1984, from

Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM

acknowledges receipt of Owyhee County Application on March 29, 1984, and wherein BLM

stated to Owyhee County that “the official records are being noted to show that the public roads

indicated on your maps are now authorized by Right-of-Way I-20724” with a width of 60 feet,

i.e., 30 feet on each side of existing centerline, adding that “[n]o formal right-of-way grant from

will be sent to you in accordance with new BLM right-of-way procedures in regarding to

Revised Statute 2477 roads.”

37.    The grant by BLM was initially made on April 3, 1984, inclusive of 67.6 miles of public

rights-of-way in Owyhee County with a stated width of 60 feet.

38.    The grant by BLM is identified by BLM as right-of-way file IDI 020724 or right-of-way

file I-20724.

39.    BLM uses the notation of IDI 020724 or I-20724 on its Master Title Plats within Owyhee

County to report and to disclose the R.S. 2477 status of several of the public rights-of-way across

the public lands in Owyhee County.

40.    The grant by BLM made in IDI 020724 was modified, in part, over time due to changes

in land status of some public lands in Owyhee County. However, under information and belief,

IDI 020724 remains valid as part of the records and files of BLM as of the filing of this
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Complaint, and is not disputed by USA. Plaintiffs reviewed and relied upon a version of IDI

020724 for this Complaint with a date of October 16, 2017. Plaintiffs also reviewed a version of

IDI 020724 dated May 9, 2019 and found no changes from the version dated October 16, 2017

relative to the roads claimed in this Complaint.

41.       Second, this occurred by “Owyhee County Rights of Way Ordinance 93-02” dated April

12, 1993, as follows:




42.       Like the Application dated March 28, 1984, the contemplation of these assertions by

Owyhee County was encouraged by the USA through a rule promulgated by BLM. The rule

stated:

          In order to facilitate management of the public lands, any … local government
          which has constructed public highways under the authority of R. S. 2477 (43
          U.S.C. 932, repealed October 21, 1976) may file a map showing the location of
          such public highways with the authorized officer. Maps filed under this paragraph
          shall be in sufficient detail to show the location of the R. S. 2477 highway(s) on
          public lands in relation to State or county highway(s) or road(s) in the vicinity.
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       The submission of such maps showing the location of R. S. 2477 highway(s) on
       public lands shall not be conclusive evidence as to their existence. Similarly, a
       failure to show the location of R. S. 2477 highway(s) on any map shall not
       preclude a later finding as to their existence.

43 C.F.R. § 2802.5(b) (10-1-1993 Edition and 10-1-1994 Edition); see also 45 Fed.Reg. 44526

(7-1-1980), as amended at 47 Fed.Reg. 12570 (3-23-1982); 47 Fed.Reg. 38806 (9-2-1982); 52

Fed.Reg. 25808 (7-8-1987).

43.    On February 14, 1994, Board of County Commissioners for Owyhee County approved a

resolution to make its assertions of its several public rights-of-way by “Owyhee County

Resolution No. 94-03” which was entitled “Resolution Proclaiming Public Use for Rights-of-

Way upon and across Federally Managed and State Managed Lands in Owyhee County”. The

Resolution stated:




44.    On March 28, 1994, Board of County Commissioners for Owyhee County made it

assertions of its several public rights-of-way by an “Application of Assertion Right of Way”,

which under information and belief, was soon thereafter submitted to the “authorized officer” of



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the BLM in accordance with 43 C.F.R. § 2802.5(b) (10-1-1993 Edition and 10-1-1994 Edition).

The submitted “Application” was as follows:




45.    Beyond the R.S. 2477 grant made by BLM on April 3, 1984, as modified, in part, over

time as alleged above as to several public rights-of-way subject to this Complaint, the USA did

not act upon (either approving or disapproving) the several other public rights-of-way asserted

by Owyhee County on March 28, 1994.

46.    In the meantime, two material events arose after March 28, 1994, which put the Plaintiffs

on notice of a dispute as to the validity of the Owyhee County’s assertions under R.S. 2477,

assuming they weren’t previously or subsequently validated / granted, as alleged herein.

47.    First, Congress enacted the Omnibus Public Land Management Act of 2009, Public Law

111-11, 123 Stat. 991, dated March 30, 2009, which, in Subtitle F, Sections 1501-1508,

Congress, among other things, established certain wilderness areas in Owyhee County, Section



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1503, and prescribed that a travel management plan for motorized and mechanized off-highway

vehicle recreation would be prepared, Section 1507.

48.    Second, as part of its obligations under Omnibus Public Land Management Act of 2009,

BLM initiated a travel management plan (“TMP”) process for the Murphy Subregion. Owyhee

County submitted comments and coordinated discussions with BLM during such process as to it

“assertions under R.S. 2477” upon the public lands within Owyhee County. See Owyhee County,

Idaho, 179 IBLA 18, 22-25 (2010). Notwithstanding such comments and discussions, BLM

issued the Murphy Subregion TMP which in the view of Owyhee County “conflicts with its R.S.

2477 assertions”. Owyhee County, Idaho, 179 IBLA at 27. Owyhee County advanced its view in

an administrative appeal of the TMP to the U.S. Department of the Interior, Office of Hearings

and Appeals, Board of Land Appeals (“IBLA”). In answer to Owyhee County’s appeal, BLM

disagreed with Owyhee County’s view, stating that Owyhee County’s “R.S. 2744 assertions are

yet to he perfected and avers it has the authority to designate and manage roads in the SRMA

unless and until the County’s assertions are validated by an appropriate court.” Id. The IBLA

accepted BLM’s answer, stating in a decision dated March 29, 2010, that:

       A County right-of-way over roads on Federal lands exists and attaches after its
       R.S. 2477 assertions are validated under the Quiet Title Act. See Wilderness
       Society vs. Kane County, 581 F.3d 1198, 1218-19 (10th Cir. 2009); SUWA v. BLM,
       425 F.3d at 755-58. Until validated, it has inchoate rights; thereafter, they will be
       recognized by BLM. BLM is not compelled by law or precedent to concede
       management authority over these roads to the County prior to a judicial validation
       of its assertions. See Kane County v. Salazar, 562 F.3d 1077, 1087-88 (10th Cir.
       2009); EA at 17 (“Where court rulings validate RS-2477 assertions, the TMP
       route designations would be modified to incorporate these findings”). We find no
       error in BLM so addressing the County’s assertions or including their affected
       roads in the TMP.

Owyhee County, Idaho, 179 IBLA at 28.


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49.    Owyhee County did not seek judicial review of the IBLA’s decision in Owyhee County,

Idaho, under the Administrative Procedure Act, 5 U.S.C. § 706(2), since the IBLA’s decision did

not intend to adjudicate the Plaintiffs’ “assertions under R.S. 2477”. Instead, the IBLA’s

decision only intended to effectively provide notice to the Plaintiffs as to the adversity between

the Plaintiffs and the Defendant as to the means to validate the several public rights-of-way

under R.S. 2477. Based upon this notice, the Plaintiffs exhausted two processes:

50.    First, Owyhee County initiated a process in 2011 to review its road assertions made on

March 28, 1994, and to categorize the various assertions into the following five categories:

       A. Rights-of-Way to be ratified as R.S. 2477: This group includes those rights-of-
       way that cross land owned by the United States of America within Owyhee
       County that are illustrated on General Land Office Maps or through other
       competent evidence that were established as public roads by public use for 5-
       years before 1893, by public use and public maintenance for 5-years before 1976,
       and/or by County declaration before 1976.

       B. Rights-of-Way to access private land and Idaho State land: This group includes
       those rights-of-way that cross land owned by the United States of America within
       Owyhee County that are illustrated on General Land Office Maps or through
       other competent evidence that were used to access private land and State land
       within Owyhee County before 1976.

       C. Rights-of-Way to provide “management/administrative access”: This group
       includes those rights-of-way that cross land owned by the United States of
       America within Owyhee County that provide management/administrative access
       across such land to exercise the rights, obligations and entitlements of a
       license/permit/land use authorization issued by an agency of the United States of
       America, like the Bureau of Land Management (“BLM”). These licenses are
       inclusive of grazing permits issued by the BLM. BLM maintains similar
       administrative authority to cross private lands owned by a grazing permit holder.
       See 43 C.F.R. 4130.3-2(h) (10/1/2005 Edition).

       D. Rights-of-Way to provide “livestock trailing access”: This group includes
       those rights-of-way that cross land owned by the United States of America within
       Owyhee County that provide livestock trailing access across such land to exercise
       the rights, obligations and entitlements of a license/permit/land use authorization
       issued by an agency of the United States of America, like the Bureau of Land
       Management (“BLM”). These licenses are inclusive of grazing permits and
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        crossing permits issued by the BLM. BLM maintains similar administrative
        authority to cross private lands owned by a grazing permit holder. See 43 C.F.R.
        4130.3-2(h) (10/1/2005 Edition).

        E. Rights-of-Way not within any other group: This group includes those rights-of-
        way that cross land owned by the United States of America within Owyhee
        County that are not otherwise determined at this time to be within any other group
        noted above. This determination, when made by the Board, is not intended to
        change or otherwise impair whatever status the right-of-way may have had, now
        or in the future, unless otherwise adjudicated under applicable law.

See Owyhee County Resolution No. 2011-21 dated September 12, 2011, at pages 2-3; see also

Owyhee County Resolution No. 2011-01 dated January 4, 2011, at pages 2-3. This process also

included the several public rights-of-way subject to BLM’s grant dated April 3, 1984, i.e. IDI-

020724, as modified in part, since these several public rights-of-way were included in the

assertions even though they likely did not need to be, given BLM’s action on April 3, 1984.

51.     The process was prescribed in Owyhee County Resolution No. 2011-01 dated January 4,

2011, as supplemented by Owyhee County Resolution No. 2011-21 dated September 12, 2011,

and intended to meet and confer with the publics, as well as the USA, through BLM, to prepare

final maps so as to apply a category A to E for each of the road assertions made on March 28,

1994.

52.     The public exercise to catalog each of the road assertions made on March 28, 1994, was a

laborious, publicly open, and exhaustive task by Owyhee County to obtain and review the

available competent evidence from whatever source; whether from individual citizens to state

and federal agencies.

53.     The USA, through BLM, was repeatedly invited to all of the public meetings.

54.     This public exercise consumed six years of time, i.e. 2011 to 2017; inclusive of at least

eight public meetings.

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55.     On March 22, 2017, Owyhee County issued a public notice, published in The Owyhee

Avalanche on March 22, 2017 and on April 12, 2017, with separate individual notices being

mailed to the Idaho State Office of BLM, Boise District Office of BLM, Owyhee Field Office of

BLM, and Twin Falls District Office of BLM, and the Jarbidge Field Office of BLM, that stated:

        A public meeting is scheduled for April 24, 2017 at 6:00 p.m. in Courtroom #1 of
        the Owyhee County Courthouse located at 20381 State Highway 78 in Murphy,
        Idaho. The purpose of this meeting is to hear public comments, and to thereafter
        receive further written public comments for 60-days, on the “Proposed Maps”
        that identify the group for each of the RS2477 rights of way on the public lands
        depicted on 161 USGS maps within Owyhee County, State of Idaho, as per
        Owyhee County Resolution No. 2011-21 dated September 12, 2011, paragraphs
        1-2. See also Owyhee County Resolution No. 11-01 dated January 4, 2011,
        paragraphs 5-6. The public comments and written comments may include any
        omissions of any rights of way on the “Proposed Maps”, and if any omissions, the
        public comments and written comment shall include the suggested group in which
        that right of way should be within. See Owyhee County Resolution No. 11-01
        dated January 4, 2011, paragraph 6. The Board of Owyhee County Commissions
        designated Angie Barkell to prepare such “Proposed Maps”, and Ms. Barkell has
        coordinated her efforts with the Owyhee County, Planning & Zoning Office. See
        Owyhee County Resolution No. 2011-21 dated September 12, 2011, paragraph 2.

See Public Notice published in The Owyhee Avalanche on March 22, 2017 and on April 12,

2017.

56.     On April 24, 2017, a public meeting was held. Some comments were received as to the

“Proposed Maps”.

57.     After review and consideration of the comments given on April 24, 2017, and within the

time allowed, Owyhee County officially adopted the “Final Maps”, as per Owyhee County

Resolution No. 2017-21 dated July 3, 2017.

58.     On July 27, 2017, Owyhee County issued a public notice of its approval and adoption of

the “Final Maps”, published in The Owyhee Avalanche on July 12, 2017, with separate

individual notices being mailed to the Idaho State Office of BLM, Boise District Office of BLM,

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Owyhee Field Office of BLM, and Twin Falls District Office of BLM, and the Jarbidge Field

Office of BLM.

59.    Between July 27, 2017 and December 16, 2019, Plaintiff Owyhee County, Plaintiff Gem

Highway District, and Plaintiff Three Creek Good Road District conferred as to the “Final

Maps” and organized the documentation it compiled during the process between 2011 and 2017

as to at least the Category “A” Roads on the “Final Maps”.

60.    Second, the Plaintiffs initiated a road validation process in accordance with Idaho Code §

40-203A.

61.    The process is prescribed by Idaho Code § 40-203A, and was given meaning and

significance by the Idaho Supreme Court via its opinion in Nemeth v. Shoshone County, 165

Idaho 851, 453 P.3d. 844 (2019). This opinion dated November 26, 2019, speaks for itself, but

the Idaho Supreme Court held that the Federal Quiet Title Act, 28 U.S.C. § 2409a, was not the

exclusive means to adjudicate a public right-of-way under R.S. 2477 across the public lands in

Idaho, as was differently / contradictorily disclosed to Owyhee County in Owyhee County,

Idaho, 179 IBLA 18, 27, 28 (2010). Specifically, the Idaho Supreme Court stated in Nemeth v.

Shoshone County that:

       It is worth noting that the federal district court's decision in County of Shoshone
       relied heavily on the holding in The Wilderness Soc’y v. Kane Cnty., Utah, 581
       F.3d 1198 (10th Cir. 2009) (hereinafter “Kane County I ”). However, the ruling
       in Kane I was vacated and remanded on standing grounds a year earlier by an en
       banc ruling of the Tenth Circuit Court of Appeals in The Wilderness Soc. v. Kane
       Cnty., Utah, 632 F.3d 1162 (10th Cir. 2011) (hereinafter “Kane County II”). In
       County of Shoshone, the district court erroneously cited Kane I for the proposition
       that “the Quiet Title Act is the sole avenue by which [Shoshone County] can seek
       to prove the existence of its R.S. 2477 rights in court.” Shoshone County, 912
       F.Supp.2d at 943 (citing Kane County I, 581 F.3d at 1219). The quoted language
       from Kane County I references Block v. N. Dakota ex rel. Bd. of Univ. & Sch.
       Lands, 461 U.S. 273, 286, 103 S.Ct. 1811, 75 L.Ed.2d 840 (1983), in support of
       its holding. This was incorrect, as the Tenth Circuit’s en banc panel explained:
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       “Block merely holds that the QTA is the exclusive means for an adverse claimant
       to challenge the government's title. [The QTA] does not, nor could it, purport
       to be the exclusive means of recognizing R.S. 2477 rights.” Kane County II,
       632 F.3d at 1173 (emphasis added).

Id., 453 P.3d. at 851, footnote 3 (emphasis supplied). Given the holding in Nemeth v. Shoshone

County, the Plaintiffs found it prudent to exhaust the statutory procedure to validate its several

public rights-of-way as identified in the Third, Fourth, Fifth, and Sixth Claims for Relief herein.

62.    Based thereon, on January 13, 2020, and on January 14, 2020, the Plaintiffs separately

adopted a “Resolution … for the Validation of Public Rights-of-Way” in accordance with Idaho

Code § 40-203A, stating:

       NOW, THEREFORE, IT IS HEREBY RESOLVED, that the Board establishes a
       joint hearing date of February 25, 2020, with Board of Owyhee County
       Commissioners, the Board of District Commissioners for Gem Highway District,
       and the Board of District Commissioners for the Three Creek Good Road District,
       as per Idaho Code 40-203A(2)(c), wherein (1) notice of the validation hearing
       will be issued as per Idaho Code 40-203A(2)(d); (2) at the hearing, the
       Commissioners “shall consider all information relating to the proceedings and
       shall accept testimony from persons having an interest in the proposed validation”
       in accordance with Idaho Code 40-203A(2)(e); and, (3) upon the conclusion of
       the hearing or at such other time as is necessary to review the evidence from the
       hearing, the Commissioners will determine whether validation of any of the
       several rights-of-way in Group A will be validated as public rights-of-way,
       including as under R.S. 2477, and whether such validation would be in the public
       interest in accordance with Idaho Code 40-203A(3), and based thereon, the
       Commissioners will issue a joint order validating or not any or all of the several
       rights-of-way as public rights-of-way, including as under R.S. 2477, in
       accordance with Idaho Code 40-203A(3) and Idaho Code 40-203A(5).

       IT IS ALSO HEREBY RESOLVED, that the joint hearing only intends to
       validate the rights-of-way as they exist upon the public lands owned by the
       United States of America, and not as they may exist upon private land or Idaho
       State land.

63.    Before the hearing occurred on February 25, 2020, legal notice of the “Resolution … for

the Validation of Public Rights-of-Way” was duly published in a newspaper of general

circulation for Owyhee County, i.e. The Owyhee Avalanche.
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64.    On February 25, 2020, a public hearing occurred before Board of Owyhee County

Commissioners, the Board of District Commissioners for Gem Highway District, and the Board

of District Commissioners for the Three Creek Good Road District, as per Idaho Code 40-

203A(2)(c). Neither the USA nor BLM appeared at the hearing even though explicit notice was

given to BLM. Evidence via testimony and documents were admitted in support of the

Resolution / Petition to validate the several public rights-of-way under R.S. 2477 as identified in

the Third, Fourth, Fifth, and Sixth Claims for Relief herein. No contrary evidence was offered

during the public hearing.

65.    After conclusion of the public hearing, the Plaintiffs issued their joint “Findings,

Conclusions, and Order” dated February 25, 2020, ordering that “[b]ased upon the evidence

presented, and on the findings and conclusions stated herein, the Boards order that the various

roads identified in paragraphs 81 through 566 are a public right-of-way under Idaho Law, as well

as a R.S. 2477 right-of-way under Federal law, and that the scope of such rights-of-way is as

noted in paragraphs 81 through 566. See Idaho Code 40-203A(5). The Boards are order to

continue to maintain such rights-of-way consistent with Idaho Law.”

66.    The “various roads identified in paragraphs 81 through 566” within the Findings,

Conclusions, and Order dated February 25, 2020, are the same several public rights-of-way as

identified in the Third, Fourth, Fifth, and Sixth Claims for Relief herein.

67.    After the Finding, Conclusions, and Order dated February 25, 2020, no person, no entity,

no tribal government, and no local, state, or federal government sought judicial review of the

Findings, Conclusions, Order dated February 25, 2020, within any Idaho State Court.

68.    Armed with its processes alleged in paragraphs 50 to 59 and in paragraphs 60 to 67, the

Plaintiffs took the additional, separate and independent step to confirm the position of the USA
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as to whether it disputed or not the title relative to the several public rights-of-way under R.S.

2477 as identified in the Third, Fourth, Fifth, and Sixth Claims for Relief herein. All responses

from the USA were equivocal; leaving the Plaintiffs in the irreconcilable position of needing to

file its Complaint within the required 12-year statute of limitations under the Federal Quiet Title

Act, 28 U.S.C. § 2409a(j).

69.    Based thereon, the Plaintiffs file this Complaint under the Federal Declaratory Judgment

Act, 28 U.S.C. § 2201(a), or in the alternative, under the Federal Quiet Title Act, 28 U.S.C. §

2409a(a), as to the several public rights-of-way under R.S. 2477 that were determined to be

within Category “A”, as illustrated on the Map attached hereto and incorporated by reference in

Exhibit “B”, and as further clarified / confirmed by the Plaintiff’s Findings, Conclusions, and

Order dated February 25, 2020. Plaintiffs have more detailed maps, i.e., the “Final Maps”, of

each of the several public rights-of-way, which are not appended to this Complaint due to the

size and scope of each of the maps, but, in the meantime, the “Final Maps” are available online

at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

70.    Plaintiffs reallege and incorporate by reference paragraphs 1-69 herein.

71.    Section 8 of the Act of July 26, 1866, codified as 43 U.S.C. § 932 (“R.S. 2477”), granted

a “right of way for the construction of highways over public lands, not reserved for public uses.”

72.    While R.S. 2477 was repealed by the Federal Land Policy and Management Act

(“FLMPA”) on October 21, 1976, FLMPA preserved “any [R.S. 2477] rights-of-way that existed

before FLMPA’s October 21, 1976 effective date”. County of Shoshone v. United States, 912

F.Supp.2d 912, 915 (D. Idaho 2012).
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73.    The R.S. 2477 right-of-way grant is “self-executing”, Sierra Club v. Hodel, 848 F.2d

1068, 1083 (10th Cir.1988), and “Congress never specified a particular method or procedure for

establishing R.S. 2477 rights-of-way.” County of Shoshone v. United States, 912 F.Supp.2d at

915. Quoting other Federal Court cases, the U.S. District Court, District of Idaho, stated in

County of Shoshone v. United States, 912 F.Supp.2d at 915, that:

       “the establishment of R.S. 2477 rights[-]of[-]way required no administrative
       formalities: no entry, no application, no license, no patent, and no deed on the
       federal side; no formal act of public acceptance on the part of the states or
       localities in whom the right was vested.”

74.    An R.S. 2477 right-of-way grant comes into existence automatically when a public road

is established across the public lands in accordance with the law of the State. Whether R.S. 2477

right-of-way grant has been established is a question of State law. See County of Shoshone v.

United States, 912 F.Supp.2d at 926 (wherein, quoting from other Federal Court cases, the U.S.

District Court, District of Idaho, stated that “federal law governs the interpretation of R.S. 2477,

but in determining what is required for acceptance of a right of way under the statute, federal law

borrows from long-established principles of state law, to the extent that state law provides

convenient and appropriate principles for effectuating congressional intent.” (internal quotation

marks omitted).

75.    The “state law to be ‘borrowed’ is that of the State of Idaho.” See County of Shoshone v.

United States, 912 F.Supp.2d at 927.

76.    As applied to the timeframe between June 14, 1948 and October 21, 1976, the Idaho

State Law to be “borrowed” -- to create the several “public right[s]-of-way”, Idaho Code § 40-

117(9) (definition of “Public right-of-way”), under R.S. 2477 alleged in this Complaint – is

either the (1) a “positive act of acceptance by the local government”, i.e. Idaho Code § 40-202(3)

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(“... all highways … located and record by order of a board of commissioners, are highway.”); or

(2) “compliance with the road creation statutes in existence at the time”, i.e. Idaho Code § 40-

202(3) (“... all highways used for a period of five (5) years, provided they shall have been

worked and kept up at the expense of the public … are highway.”). See Flying “A” Ranch, Inc.

v. County Commissioners of Fremont County, 342 P.3d 649, 654-655 (Idaho 2015) (citing Galli

v. Idaho County, 146 Idaho 155, 159, 191 P.3d 233, 237 (2008); see also Idaho Code § 40-

114(3) (“‘Maintenance’ means to preserve from failure or decline, or repair, refurbish, repaint or

otherwise keep an existing highway or public right-of-way in a suitable state for use including,

without limitation, snow removal, sweeping, litter control, weed abatement and placement or

repair of public safety signage.”)

77.    Idaho State Law prescribes that the scope of any public right-of-way in Idaho Code § 40-

2312. Section 40-2312 states:

               (1) Where the width of a highway is stated in the plat, dedication, deed,
       easement, agreement, official road book, determination or other document or
       by an oral agreement supported by clear and convincing evidence that
       effectively conveys, creates, recognizes or modifies the highway or establishes
       the width, that width shall control.
               (2) Where no width is established as provided for in subsection (1) of
       this section and where subsection (3) of this section is not applicable, such
       highways, except bridges and those located within cities, shall be not less than
       fifty (50) feet wide.

78.    A plaintiff bears the burden of proving “the public status of a road by a preponderance of

the evidence in a validation proceeding.” See Flying “A” Ranch, Inc. v. County Commissioners

of Fremont County, 342 P.3d 649, 654 (fn. 4) (Idaho 2015) (citing Floyd v. Board of

Commissioners of Bonneville County, 137 Idaho 718, 724, 159, 52 P.3d 863, 869 (2002).




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FIRST CLAIM FOR RELIEF – VALIDATE “PUBLIC RIGHT[S]-OF-WAY” VIA IDAHO
                     ROAD VALIDATION PROCESS

79.       Plaintiffs reallege and incorporate by reference paragraphs 1-78 herein.

80.       An actual controversy of a justiciable nature exists between the Plaintiffs and Defendant

concerning the authority to validate public rights-of-way under R.S. 2477 upon the public lands

in Idaho. This controversy can be determined by a judgment of the court.

81.        Defendant claims that Plaintiffs must validate its R.S. 2477 rights in federal court under

Federal Quiet Title Act, 28 U.S.C. § 2409a. E.g. Owyhee County, Idaho, 179 IBLA at 28.

82.       Plaintiffs disagree.

83.       Idaho State Law prescribes in Idaho Code § 40-203A a Road Validation process which

states:

          (1) … the commissioners may initiate validation proceedings on their own
          resolution, if any of the following conditions exist:
                  (a) If, through omission or defect, doubt exists as to the legal
                  establishment or evidence of establishment of a highway or public
                  right-of-way;
                  (b) If the location of the highway or public right-of-way cannot be
                  accurately determined due to numerous alterations of the highway or
                  public right-of-way, a defective survey of the highway, public right-of-
                  way or adjacent property, or loss or destruction of the original survey of
                  the highways or public rights-of-way; or
                  (c) If the highway or public right-of-way as traveled and used does not
                  generally conform to the location of a highway or public right-of-way
                  described on the official highway system map or in the public records.
          (2) If proceedings for validation of a highway or public right-of-way are
          initiated, the commissioners shall follow the procedure set forth in section 40-
          203, Idaho Code, and shall: …
                  (b) Cause a report to be prepared, including consideration of any
                  survey and any other information required by the commissioners;
                  (c) Establish a hearing date on the proceedings for validation;
                  (d) Cause notice of the proceedings to be provided in the same manner
                  as for abandonment and vacation proceedings; and
                  (e) At the hearing, the commissioners shall consider all information
                  relating to the proceedings and shall accept testimony from persons
                  having an interest in the proposed validation.
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       (3) Upon completion of the proceedings, the commissioners shall determine
       whether validation of the highway or public right-of-way is in the public
       interest and shall enter an order validating the highway or public right-of-way
       as public or declaring it not to be public.
       (4) From any such decision, any resident or property holder within a county or
       highway district system, including the state of Idaho or any of its subdivisions,
       or any agency of the federal government, may appeal to the district court of the
       county in which the highway or public right-of-way is located pursuant to
       section 40-208, Idaho Code.
       (5) When a board of commissioners validates a highway or public right-of-
       way, it shall cause the order validating the highway or public right-of-way, and
       if surveyed, cause the survey to be recorded in the county records and shall
       amend the official highway system map of the respective county or highway
       district. …

84.    In Nemeth v. Shoshone County, 165 Idaho 851, 453 P.3d. 844 (2019), the Idaho Supreme

Court interpreted and applied Idaho Code § 40-203A as a means to adjudicate a public right-of-

way including under R.S. 2477 across the public lands in Idaho; holding that the Federal Quiet

Title Act, 28 U.S.C. § 2409a, is not the exclusive means to adjudicate a public right-of-way

under R.S. 2477 across the public lands in Idaho, particularly when, as here, title is not disputed.

E.g. Owyhee County, Idaho, 179 IBLA at 27 (wherein the USA admits that “[i]t is

uncontroverted that the County’s right-of-way assertions under R.S. 2477 were ‘acknowledged’

pursuant to state law”).

85.    Consistent with Idaho Code § 40-203A, the Plaintiffs petitioned / resolved on January 13,

2020, and on January 14, 2020, to validate the public rights-of-way under R.S. 2477 across the

public lands in Idaho as identified in the Third, Fourth, Fifth, and Sixth Claims for Relief.

86.    Plaintiffs duly published their legal notice for a hearing to validate such public rights-of-

way under Idaho Code § 40-203A.




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87.    A public hearing occurred on February 25, 2020, wherein evidence was offered to

support the validation of the rights-of-way as identified in the Second, Third, Fourth, and Fifth

Claims for Relief as public rights-of-way under R.S. 2477. No contrary evidence was offered.

88.    Based upon the undisputed evidence at the public hearing, the Plaintiffs adopted

Findings, Conclusions, and Order dated February 25, 2020; stating at paragraph 578 of the Order

that “[b]ased upon the evidence presented, and on the findings and conclusions stated herein, the

Boards order that the various roads identified in paragraphs 81 through 566 are a public right-of-

way under Idaho Law, as well as a R.S. 2477 right-of-way under Federal law, and that the scope

of such rights-of-way is as noted in paragraphs 81 through 566.” The various roads identified in

paragraphs 81 through 566 of the Findings, Conclusions, and Order dated February 25, 2020, are

the same public rights-of-way identified in the Third, Fourth, Fifth, and Sixth Claims for Relief.

89.    The USA did not seek judicial review of the Findings, Conclusions, and Order dated

February 25, 2020, in any Idaho State Court, as it was legally entitled to do under Idaho Code.

The Findings, Conclusions and Order are final.

90.    Wherefore, Plaintiffs seek to “declare the rights and other legal relations” under the

Federal Declaratory Judgment Act, 28 U.S.C. § 2201(a), that the Idaho Road Validation process

prescribed by Idaho Code § 40-203A was legally sufficient to validate each of the roads

identified in the Third, Fourth, Fifth, and Sixth Claims for Relief as public rights-of-way under

R.S. 2477, as per the Plaintiffs’ Findings, Conclusions, and Order dated February 25, 2020.

   SECOND CLAIM FOR RELIEF – VALIDATE “PUBLIC RIGHT[S]-OF-WAY” VIA
                USA’S OWN GRANT DATED APRIL 3, 1984

91.    Plaintiffs reallege and incorporate by reference paragraphs 1-78 herein.




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92.       An actual controversy of a justiciable nature exists between the Plaintiffs and Defendant

concerning the validity of certain public rights-of-way under R.S. 2477 upon the public lands in

Idaho identified in the Third and Fifth Claims for Relief. This controversy can be determined by

a judgment of the court.

93.        Defendant claims that Plaintiffs must validate its R.S. 2477 rights in federal court under

Federal Quiet Title Act, 28 U.S.C. § 2409a. E.g. Owyhee County, Idaho, 179 IBLA at 28.

94.       Plaintiffs disagree.

95.       Owyhee County prepared an “Application for Transportation and Utility Systems and

Facilities on Federal Land” dated March 28, 1984, wherein it was stated that:

          These are existing roads authorized under authority of R.S. 2477 which has been
          repealed, and these roads must now be recorded as rights-of-way under authority
          of P.L. 94-579. (List a standard width and reference the maps for location of
          roads.) See attached maps for location of roads which are maintained by Owyhee
          County Road and Bridge Department. All roads to be 60 feet in width. Roads on
          section lines to be 30 feet each side of section line.

See Application for Transportation and Utility Systems and Facilities on Federal Land” dated

March 28, 1984, at page 1. This Application included specific maps, identifying the location of

the public rights-of-way subject to the application.

96.       The Application dated March 28, 1984, was submitted by Owyhee County to the USA

based upon rule duly promulgated by one of its own administrative agencies, i.e. BLM. The rule

stated:

          In order to facilitate management of the public lands, any … local government
          which has constructed public highways under the authority of R. S. 2477 (43
          U.S.C. 932, repealed October 21, 1976) may file a map showing the location of
          such public highways with the authorized officer. Maps filed under this paragraph
          shall be in sufficient detail to show the location of the R. S. 2477 highway(s) on
          public lands in relation to State or county highway(s) or road(s) in the vicinity.
          The submission of such maps showing the location of R. S. 2477 highway(s) on
          public lands shall not be conclusive evidence as to their existence. Similarly, a
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       failure to show the location of R. S. 2477 highway(s) on any map shall not
       preclude a later finding as to their existence.

43 C.F.R. § 2802.5(b) (10-1-1983, 10-1-1984, 10-1-1985 Editions); see also 45 Fed.Reg. 44526

(7-1-1980), as amended at 47 Fed.Reg. 12570 (3-23-1982); 47 Fed.Reg. 38806 (9-2-1982).

97.    While Section 2802.5(b) (10-1-1984 Edition) stated that submission of such maps “shall

not be conclusive evidence” as to the existence of public rights-of-way under R.S. 2477, the

USA reviewed Owyhee County’s Application dated March 28, 1984, through its agency, BLM,

and granted Owyhee County an indefinite right-of-way grant under R.S. 2477 as to several of the

public rights-of-way identified in the Third and Fifth Claims for Relief in this Complaint.

98.     This grant by the USA was memorialized in (at least) a Letter dated April 3, 1984, from

Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM

acknowledges receipt of Owyhee County Application on March 29, 1984, and wherein BLM

stated to Owyhee County that “the official records are being noted to show that the public roads

indicated on your maps are now authorized by Right-of-Way I-20724” with a width of 60 feet,

i.e., 30 feet on each side of existing centerline, adding that “[n]o formal right-of-way grant from

will be sent to you in accordance with new BLM right-of-way procedures in regarding to

Revised Statute 2477 roads.”

99.    The grant by BLM was initially made on April 3, 1984, inclusive of 67.6 miles of public

rights-of-way in Owyhee County with a stated width of 60 feet.

100.   The grant by BLM is identified by BLM as right-of-way file IDI 020724 or right-of-way

file I-20724.




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101.    BLM uses the notation of IDI 020724 or I-20724 on its Master Title Plats within Owyhee

County to report and to disclose the R.S. 2477 status of several of the public rights-of-way across

the public lands in Owyhee County.

102.    The grant by BLM made in IDI 020724 was modified, in part, over time due to changes

in land status of some public lands in Owyhee County. However, under information and belief,

IDI 020724 remains valid as part of the records and files of BLM as of the filing of this

Complaint and is not disputed by the USA.

103.    Wherefore, Plaintiffs seek to “declare the rights and other legal relations” under the

Federal Declaratory Judgment Act, 28 U.S.C. § 2201(a), that the USA’s grant, through BLM,

dated April 3, 1984, as modified, was legally sufficient to validate each of the roads identified in

the Third and Fifth Claims for Relief as public rights-of-way under R.S. 2477.

      THIRD CLAIM FOR RELIEF – VALIDATE “PUBLIC RIGHT[S]-OF-WAY” VIA
         DEDICATION BY OWYHEE COUNTY AND VIA GRANT BY THE U.S.
       DEPARTMENT OF THE INTERIOR, BUREAU OF LAND MANAGEMENT

104.    Plaintiffs reallege and incorporate by reference paragraphs 1-78 herein.

105.    Defendant disputes Plaintiffs’ title, 28 U.S.C. § 2409a(a); characterizing the Plaintiffs’

assertions under R.S. 2477 as only “inchoate rights”. E.g. Owyhee County, Idaho, 179 IBLA at

28.

106.    Plaintiffs disagree.

107.    The several public rights-of-way alleged in this Third Claim for Relief were created by a

positive act of acceptance by Owyhee County on June 14, 1948, on December 18, 1950, and/or

on December 9, 1974 as provided for in Idaho Code § 40-202(3), which states in applicable part

that “all highways … located and recorded by order of a board of commissioners, are highways.”


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See also Idaho Session Laws approved March 9, 1950, 1st Extraordinary Session, Chapter 87,

Sections 4(b), 12.

108.   These same public rights-of-way alleged in this Third Claim for Relief were also created

by a grant issued by the USA, through BLM, on April 3, 1984, as modified, in part, over time

due to changes in land status of some public lands in Owyhee County, as part of BLM’s own

right-of-way file IDI 020724.

109.   These several public rights-of-way are individually and separately alleged in the sub-

claims for relief below, as within the jurisdiction of Plaintiff Owyhee County and Plaintiff

TCGRD. Each road intends to be its own separate sub-claim for relief.

                                    A. OWYHEE COUNTY

110.   (1) Bachman Grade Road.

The Bachman Grade Road is more specifically illustrated on the “Final Map” identified as

Antelope Spring (Map #68), Oreana (Map #67), Toy Pass (Map #57), Triangle Flat (Map #47),

Triangle Reservoir (Map #58), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

111.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

112.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

113.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this
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Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 and Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2,

1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under

authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1957, 1960, 1969, 1970, 1976; and (k) public comments received by Owyhee

County during its 2011-2017 categorization process from S. Miller dated May 12, 2014.

114.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Bachman Grade Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

115.   (2) Clover Three Creek Road


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116.   The Clover Three Creek Road is more specifically illustrated on the “Final Map”

identified as Clover Butte N. (Map #140), Clover Butte S. (Map #141), Crowbar Gulch (Map

#122), Hodge Station (Map #139), Hot Springs (Map #121), Pot Hole Butte (Map #130), Winter

Camp (Map #131), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

117.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, and again on December 18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee

County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948; see also

Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

118.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

119.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948 and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4, Map Sheet 5, and Map Sheet 9 on such Application; (c) Short Note Transmittal

dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was documented the

“posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads

constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office

Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt of Owyhee County

Application dated March 29, 1984, and wherein BLM advised Owyhee County that “the official

records are being noted to show that the public roads indicated on your maps are now authorized
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by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing

centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee

County Application of Assertion of Right of Way dated March 28, 1994; (g) Owyhee County

Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution 2011-21 dated

September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017; (j) Owyhee

County Annual Maintenance or Inventory Maps in 1958, 1960, 1962, 1964, 1969, 1970, 1971,

1975, 1976; (k) statements issued by Chet Brackett, specifically that Buck Creek Road “. . .

received maintenance twice a year, [was] graded, drained, had borrow pits [and] were official

roads that were turned into the State of Idaho for maintenance reimbursement” dated January 31,

2017; and (l) public comments issued by Chet Brackett, specifically that BLM gave maintenance

duties for Buck Creek Road to Owyhee County, dated January 23, 2017.

120.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Clover Three Creek Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

121.   (3) Cow Creek Road.

122.   The Cow Creek Road is more specifically illustrated on the “Final Map” identified as

Horse Butte (Map #152), Sheaville (Map #5), Swisher Mtn. (Map #20), which are available

online at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ last checked on January 21, 2021 @ 2:45 P.M.).




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123.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

124.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

125.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948 and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated

July 29, 1974, November 12, 1974, February 10, 1975, April 14, 2975 and May 12, 1975; (k)

Owyhee County Annual Maintenance or Inventory Maps in 1957,1960, 1961, 1969, 1975 and
COMPLAINT                                                                                       40
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1976; and (l) C. Kingston Letter wherein the Cow Creek Road was recognized by the BLM as

part of right-of-way IDI-20724 dated April 6, 1990.

126.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Cow Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

127.    (4) Flint Creek Road.

128.    The Flint Creek Road is more specifically illustrated on the “Final Map” identified as

Combination Ridge (Map #35), Flint (Map #34), Sugar Valley (Map #113), Triangle Flat (Map

#47), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

129.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

130.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

131.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally
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Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1957, 1960, 1961, 1969, 1976; (k) Owyhee County Commissioner Minutes

dated June 9, 1952 and June 14, 1976; and (l) public comments received by Owyhee County

during its 2011-2017 categorization process from S. Miller dated May 12, 2014.

132.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Flint Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

133.    (5) Hot Creek Road.

134.    The Hot Creek Road is more specifically illustrated on the “Final Map” identified as

Bruneau (Map #112), Sugar Valley (Map #113), which are available online at Owyhee County’s


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official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

135.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

136.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

137.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) BLM Land

Patent to State of Idaho Department of Parks and Recreation dated July 19, 1984, wherein

Owyhee County was given notice of a change in ownership in a parcel of land where a portion of

the Hot Creek Road right-of-way crossed the land; (f) Owyhee County Resolution No. 94-03

dated February 14, 1994; (g) Owyhee County Application of Assertion of Right of Way dated
COMPLAINT                                                                                         43
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March 28, 1994; (h) Owyhee County Resolution 2011-01 dated January 4, 2011; (i) Owyhee

County Resolution 2011-21 dated September 12, 2011; (j) Owyhee County Resolution 2017-21

dated July 3, 2017; and (k) Owyhee County Annual Maintenance or Inventory Maps in 1960,

1969, 1970, and 1976.

138.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Hot Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

139.    (6) Hot Springs Road.

140.    The Hot Springs Road is more specifically illustrated on the “Final Map” identified as

Hot Springs (Map #121), Sugar Valley (Map #113), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

141.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

142.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

143.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
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on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1976; (k) and Owyhee County Commissioner Minutes dated

February 12, 1951 and March 12, 1973.

144.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Hot Springs Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

145.    (7) Jordan Creek Road

146.    The Jordan Creek Road is more specifically illustrated on the “Final Map” identified as

De Lamar (Map #33), Silver City (Map #45), which are available online at Owyhee County’s


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official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

147.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

148.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

149.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Letter from C.

Kingston, Owyhee Field Office Manager, BLM, to Owyhee County dated April 6, 1990, wherein

BLM noted an amendment to IDI-20724, stating that these “roads have been determined to meet

the criteria establish for acknowledgement under authority of Revised Statute 2477”; (f) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (g) Owyhee County Application of
COMPLAINT                                                                                          46
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Assertion of Right of Way dated March 28, 1994; (h) Owyhee County Resolution 2011-01 dated

January 4, 2011; (i) Owyhee County Resolution 2011-21 dated September 12, 2011; (j) Owyhee

County Resolution 2017-21 dated July 3, 2017; (k) Owyhee County Commissioner Minutes

dated June 8, 1953, December 4, 1967, June 10, 1968, November 12, 1974 and May 12, 1975;

and (l) Owyhee County Annual Maintenance or Inventory Maps in 1957, 1960, 1969, 1975 and

1976.

150.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Jordan Creek Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

151.    (8) Juniper Mountain Road.

152.    The Juniper Mountain Road is more specifically illustrated on the “Final Map” identified

as Cliffs (Map #23), Juniper Point (Map #9), which are available online at Owyhee County’s

official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

153.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

154.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

155.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this
COMPLAINT                                                                                        47
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Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 and Map Sheet 6 on such Application; (c) Short Note Transmittal dated April 2,

1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under

authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1957, 1960, 1961, 1969 and 1976.

156.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Juniper Mountain Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

157.   (9) McBride Creek Road

158.   The McBride Creek Road is more specifically illustrated on the “Final Map” identified as

Piute Butte (Map #18), Rockville (Map #4), which are available online at Owyhee County’s
COMPLAINT                                                                                          48
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official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

159.   This Road was created by a positive act of acceptance by Owyhee County on December

18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 57-58, dated December 18, 1950.

160.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

161.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between December 18, 1950, and October 21, 1976, and even through the date of filing of

this Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application

dated March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as

illustrated on Map Sheet 1 on such Application; (c) Short Note Transmittal dated April 2, 1984,

from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under

authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated
COMPLAINT                                                                                         49
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December 18, 1950; (k) Owyhee County Annual Maintenance or Inventory Maps in 1969 and

1976; and (l) BLM Compliance Check dated September 13, 2006 stating that this road, as a

portion of Owyhee County’s recognized R.S. 2477 assertion, is in compliance.

162.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the McBride Creek Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

163.   (10) Mecham Road

164.   The Mecham Road is more specifically illustrated on the “Final Map” identified as

Bruneau Dunes (Map #120), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

165.   This Road was created by a positive act of acceptance by Owyhee County on December

9, 1974, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 190-192.

166.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

167.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

168.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated
COMPLAINT                                                                                       50
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March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated

December 9, 1974; and (k) Owyhee County Annual Maintenance or Inventory Maps in 1974 and

1975.

169.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Mecham Creek Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

170.    (11) Mud Flat Road

171.    The Mud Flat Road is more specifically illustrated on the “Final Map” identified as Big

Springs Ranch (Map #71), Chalk Hills (Map #97), Clover Mtn. (Map #70), Grand View (Map
COMPLAINT                                                                                         51
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#96), Hurry Up Creek (Map #59), Perjue Canyon (Map #88), Rough Mnt. NE (Map #78), Snow

Creek (Map #80), Wagon Box Basin (Map #60) which are available online at Owyhee County’s

official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

172.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

173.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

174.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 and Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2,

1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under

authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated
COMPLAINT                                                                                         52
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January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1957, 1960, 1961, 1962, 1964, 1969, 1976; and (k) Owyhee County

Commissioner Minutes dated June 13, 1949, August 18, 1949, and May 8, 1961.

175.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Mud Flat Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

176.    (12) Oreana Loop Road (aka Browns Creek Road).

177.    The Oreana Loop Road, or the Browns Creek Road, is more specifically illustrated on the

“Final Map” identified as Castle Butte (Map #77), Oreana (Map #67), which are available online

at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

178.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

179.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

180.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
COMPLAINT                                                                                          53
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on Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated

March 14, 1949 and December 7, 1959; and (k) Owyhee County Annual Maintenance or

Inventory Maps in 1969, 1970, 1971 and 1976.

181.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Oreana Loop Road, or the Browns Creek Road, -- as it exists

across the lands owned by USA -- is a “public right-of-way” under Idaho State law with all the

rights and privileges allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in

width, i.e., 30-feet on each side of center line.

182.    (13) Pleasant Valley Road.

183.    The Pleasant Valley Road is more specifically illustrated on the “Final Map” identified as

Jordan Valley (Map #7), Parsnip Peak (Map #8), Stonehouse Creek (Map #21), which are

available online at Owyhee County’s official website:
COMPLAINT                                                                                         54
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https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

184.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

185.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

186.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948 and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated
COMPLAINT                                                                                       55
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March 10, 1958, June 13, 1960 and October 8, 1962; and (k) Owyhee County Annual

Maintenance or Inventory Maps in 1957, 1960, 1965 and 1976.

187.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Pleasant Valley Road-- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

188.   (14) Poison Creek Cutoff Road.

189.   The Poison Creek Cutoff Road is more specifically illustrated on the “Final Map”

identified as Castle Butte (Map #77), Perjue Canyon (Map #88), Rough Mountain (Map #79),

Rough Mtn. NE (Map #78), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

190.   This Road was created by a positive act of acceptance by Owyhee County on June 14

1948, and again on December 18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee

County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948; see also

Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

191.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

192.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
COMPLAINT                                                                                        56
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on Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated

December 18, 1950; and (k) Owyhee County Annual Maintenance or Inventory Maps in 1969,

1970 and 1976.

193.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Poison Creek Cutoff Road-- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

194.   (15) Rabbit Creek Road.

195.   The Rabbit Creek Road is more specifically illustrated on the “Final Map” identified as

Murphy (Map #55), Reynolds (Map #44), which are available online at Owyhee County’s


COMPLAINT                                                                                        57
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official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

196.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

197.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

198.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 1 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or
COMPLAINT                                                                                       58
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Inventory Maps in 1969, 1970, 1976; and (k) Owyhee County Commissioner Minutes dated

December 18, 1961.

199.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Rabbit Creek Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

200.    (16) Reynolds Creek Road (aka Road #1).

201.    The Reynolds Creek Road, or Road #1, is more specifically illustrated on the “Final

Map” identified as Reynolds (Map #44), Wilson Peak (Map #43), which are available online at

Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

202.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

203.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

204.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 1 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka
COMPLAINT                                                                                        59
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Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) BLM Land

Patent to James A. Hackler and W. Irene Hackler dated July 19, 1984, wherein Owyhee County

was given notice of a change in ownership in a parcel of land where a portion of the Reynold’s

Road right-of-way crossed the land; (f) Owyhee County Resolution No. 94-03 dated February

14, 1994; (g) Owyhee County Application of Assertion of Right of Way dated March 28, 1994;

(h) Owyhee County Resolution 2011-01 dated January 4, 2011; (i) Owyhee County Resolution

2011-21 dated September 12, 2011; (j) Owyhee County Resolution 2017-21 dated July 3, 2017;

(k) Owyhee County Commissioner Minutes dated June 12, 1950, June 26, 1950, February 12,

1951, April 14, 1952, June 9, 1958 and May 13, 1974; and (l) Owyhee County Annual

Maintenance or Inventory Maps in 1963, 1969 and 1976.

205.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Reynolds Creek Road, or Road #1, -- as it exists across the lands

owned by USA -- is a “public right-of-way” under Idaho State law with all the rights and

privileges allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e.,

30-feet on each side of center line.

206.   (17) River Road (aka Road #9).

207.   The River Road (aka Road #9) is more specifically illustrated on the “Final Map”

identified as CJ Strike (Map #104), Grand View (Map #96), which are available online at
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Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

208.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

209.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

210.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee


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County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1962, 1964, 1969, 1976.

211.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the River Road (aka Road #9) -- as it exists across the lands owned

by USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

212.   (18) Rowland Route Road

213.   The Rowland Route Road is more specifically illustrated on the “Final Map” identified as

Antelope Creek (Map #118), Black Leg Creek (Map #119), Buster Butte (Map #117), Grasmere

Reservoir (Map #109), Triguero Lake (Map #126), Triplet Butte (Map #127), which are

available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

214.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

215.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

216.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
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on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1975 and 1976.

217.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Rowland Route Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

218.   (19) Shoofly Cutoff Road

219.   The Shoofly Cutoff Road is more specifically illustrated on the “Final Map” identified as

Chalk Hills (Map #97), Little Valley (Map #105), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).
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220.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

221.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

222.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1970, 1976.


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223.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Shoofly Cutoff Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

224.   (20) Short Cut Road (aka Road 7a)

225.   The Short Cut Road (aka Road 7a) is more specifically illustrated on the “Final Map”

identified as Castle Butte (Map #77), Oreana (Map #67), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

226.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, and again on December 18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee

County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948; see also

Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

227.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

228.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of
COMPLAINT                                                                                        65
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R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) BLM Land

Patents both “subject to those rights for an existing highway exercised under R.S. 2477 and

noted under serial number I-20724” dated December 23, 1985 and January 13, 1986

respectively; (f) Owyhee County Resolution No. 94-03 dated February 14, 1994; (g) Owyhee

County Application of Assertion of Right of Way dated March 28, 1994; (h) Owyhee County

Resolution 2011-01 dated January 4, 2011; (i) Owyhee County Resolution 2011-21 dated

September 12, 2011; (j) Owyhee County Resolution 2017-21 dated July 3, 2017; and (k)

Owyhee County Annual Maintenance or Inventory Maps in 1969, 1970, 1971, 1976.

229.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Short Cut Road (aka Road 7a) -- as it exists across the lands

owned by USA -- is a “public right-of-way” under Idaho State law with all the rights and

privileges allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e.,

30-feet on each side of center line.

230.   (21) Silver City Road.

231.   The Silver City Road is more specifically illustrated on the “Final Map” identified as

Murphy (Map #55), Silver City (Map #45), Sinker Canyon (Map #56), which are available

online at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).


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232.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

233.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

234.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 1, Map Sheet 2, and Map Sheet 3 on such Application; (c) Short Note Transmittal

dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was documented the

“posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads

constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office

Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt of Owyhee County

Application dated March 29, 1984, and wherein BLM advised Owyhee County that “the official

records are being noted to show that the public roads indicated on your maps are now authorized

by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing

centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee

County Application of Assertion of Right of Way dated March 28, 1994; (g) Owyhee County

Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution 2011-21 dated

September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017; (j) Owyhee

County Annual Maintenance or Inventory Maps in 1957, 1960, 1969, 1976; (k) Owyhee County

Commissioner Minutes dated May 8, 1950, January 8, 1951, April 9, 1956, August 8, 1966,
COMPLAINT                                                                                       67
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December 4, 1967, and December 15, 1969; and (l) C. Kingston Letter wherein the Silver City

Road was recognized by the BLM as part of right-of-way IDI-20724 dated April 6, 1990.

235.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Silver City Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

236.    (22) South Mountain Road (aka Road 6a)

237.    The South Mountain Road, or Road 6a, is more specifically illustrated on the “Final

Map” identified as Cliffs (Map #23), Jordan Valley (Map #7), Stonehouse Creek (Map #21),

Williams Creek (Map #22), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

238.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, and again on December 18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee

County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948; see also

Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

239.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

240.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
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on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated

December 18, 1950, July 9, 1951, August 13, 1951, June 9, 1952 and March 10, 1958; and (k)

Owyhee County Annual Maintenance or Inventory Maps in 1957, 1960, 1961, 1969 and 1976.

241.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the South Mountain Road, or Road (6)a, -- as it exists across the

lands owned by USA -- is a “public right-of-way” under Idaho State law with all the rights and

privileges allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e.,

30-feet on each side of center line.

242.   (23) Triangle Road.

243.   The Triangle Road is more specifically illustrated on the “Final Map” identified as Toy

Pass (Map #57) Triangle Flat (Map #47), which are available online at Owyhee County’s official


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website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).

244.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

245.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

246.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or
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Inventory Maps in 1957, 1960, 1969 and 1976; and (k) public comments received by Owyhee

County during its 2011-2017 categorization process from S. Miller dated May 12, 2014.

247.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Triangle Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

248.    (24) Trout Creek Road

249.    The Trout Creek Road is more specifically illustrated on the “Final Map” identified as

Jordan Valley (Map #7), Stonehouse Creek (Map #21), Swisher Mtn. (Map #20), which is

available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

250.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

251.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

252.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 2 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally
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Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Commissioner Minutes dated

May 12, 1975, December 8, 1975 and October 18, 1976; (k) Owyhee County Annual

Maintenance or Inventory Maps in 1957, 1960, 1965 and 1976; and (l) C. Kingston Letter

wherein the Trout Creek Road was recognized by the BLM as part of right-of-way IDI-20724

dated April 6, 1990.

253.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Trout Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

                       B. THREE CREEK GOOD ROAD DISTRICT

254.    (25) Clover Three Creek Road


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255.   The Clover-Three Creek Road is more specifically illustrated on the “Final Map”

identified as Clover Butte N (Map #140), Clover Butte S. (Map #141), Crowbar Gulch (Map

#122), Hodge Station (Map #139), Hot Springs (Map #121), Pot Hole Butte (Map #130), Winter

Camp (Map #131), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

256.   This Road was created by a positive act of acceptance by Owyhee County on June 14

1948, and again on December 18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee

County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948; see also

Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

257.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

258.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each
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side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1960, 1962,

1964, 1969, 1971, 1975 and 1976; (k) statements issued by Chet Brackett, specifically that

Three-Clover Creek Road “. . .received maintenance twice a year, were graded, drained and had

borrow pits. These were official roads that were turned into the State of Idaho for maintenance

reimbursement” dated January 31, 2017; and (l) public comments issued by Chet Brackett,

specifically that Clover-Three Creek Road was “okay” and maintained as needed, dated January

23, 2017.

259.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Clover-Three Creek Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

   FOURTH CLAIM FOR RELIEF – VALIDATE “PUBLIC[S] RIGHT-OF-WAY” VIA
                  DEDICATION BY OWYHEE COUNTY

260.   Plaintiffs reallege and incorporate by reference paragraphs 1-78 herein.

261.   Defendant disputes Plaintiffs’ title, 28 U.S.C. § 2409a(a); characterizing the Plaintiffs’

assertions under R.S. 2477 as only “inchoate rights”. E.g. Owyhee County, Idaho, 179 IBLA at

28.

262.   Plaintiffs disagree.

COMPLAINT                                                                                           74
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263.   The several public rights-of-way alleged in this Fourth Claim for Relief were created by a

positive act of acceptance by Owyhee County on June 14, 1948, and/or on December 18, 1950,

as provided for in Idaho Code § 40-202(3), which states in applicable part that “all highways …

located and recorded by order of a board of commissioners, are highways. See also Idaho

Session Laws approved March 9, 1950, 1st Extraordinary Session, Chapter 87, Sections 4(b), 12.

264.   These several public rights-of-way are individually and separately alleged in the sub-

claims for relief below, as within the jurisdiction of Plaintiff Owyhee County and Plaintiff GHD.

Each road intends to be its own separate sub-claim for relief.

                                   A. OWYHEE COUNTY

265.   (26) Antelope Springs Road.

266.   The Antelope Springs Road is more specifically illustrated on the “Final Map” identified

as Clover Mtn. (Map #70), Hurry Up Creek (Map #59), Triangle Flat (Map #47), Triangle

Reservoir (Map #58), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

267.   This Road was created by a positive act of acceptance by Owyhee County on December

18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 56-57, dated December 18, 1950.

268.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between December 18, 1950, and October 21, 1976, and even through the date of filing of

this Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution

No. 94-03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of

Way dated March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e)
COMPLAINT                                                                                       75
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Owyhee County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution

2017-21 dated July 3, 2017; (g) Owyhee County Commissioner Minutes dated December 18,

1950; (h) Owyhee County Annual Maintenance or Inventory Maps in 1957, 1960 and 1969; and

(i) public comments received by Owyhee County during its 2011-2017 categorization process

from S. Miller dated May 12, 2014.

269.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Antelope Springs Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

270.   (27) Balanced Rock Road.

271.   The Balanced Rock Road is more specifically illustrated on the “Final Map” identified as

Castleford Butte (Map #157), Crows Nest Butte (Map #145), which is available online at

Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.)

272.   This Road was created by a positive act of acceptance by Owyhee County on December

18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 56-57, dated December 18, 1950.

273.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between December 18, 1950, and October 21, 1976, and even through the date of this

Report, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 5 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally
COMPLAINT                                                                                          76
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Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) BLM Land

Patent wherein Owyhee County was given notice of a change in ownership in a parcel of land

where a portion of the Balanced Rock Road right-of-way crossed the land dated March 6, 1989

at page 9-10.; (f) Owyhee County Resolution No. 94-03 dated February 14, 1994; (g) Owyhee

County Application of Assertion of Right of Way dated March 28, 1994; (h) Owyhee County

Resolution 2011-01 dated January 4, 2011; (i) Owyhee County Resolution 2011-21 dated

September 12, 2011; (j) Owyhee County Resolution 2017-21 dated July 3, 2017; (k) Owyhee

County Commissioner Minutes dated December 18, 1950; (l) Owyhee County Annual

Maintenance or Inventory Maps in 1969 and 1975; (m) Statements issued by Chet Brackett,

specifically that Balanced Rock Road was “. . . used annually and continually from 1948 through

1976” and “maintained as needed, certainly more than 5 times between 1948 and 1976” dated

January 31, 2017; see also (n) BLM grant of right of way TCGRD dated February 20, 1992

under IDI 16779.

274.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Balanced Rock Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges


COMPLAINT                                                                                         77
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allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho

Code § 40-2312(2).

275.   (28) Bates Creek Road

276.   The Bates Creek Road is more specifically illustrated on the “Final Map” identified as

Oreana (Map #67), Sinker Canyon (Map #56), which are available online at Owyhee County’s

official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

277.   This Road was created by a positive act of acceptance by Owyhee County on December

18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 56-57, dated December 18, 1950.

278.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between December 18, 1950, and October 21, 1976, and even through the date of filing of

this Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution

No. 94-03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of

Way dated March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e)

Owyhee County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution

2017-21 dated July 3, 2017; (g) Owyhee County Commissioner Minutes dated December 18,

1950; and (h) Owyhee County Annual Maintenance or Inventory Maps in 1969.

279.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Bates Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).
COMPLAINT                                                                                       78
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280.   (29) Castleford Road

281.   The Castleford Road is more specifically illustrated on the “Final Map” identified as

Black Butte East (Map #144) Black Butte West (Map #138), Clover Butte N. (Map #140),

Crowbar Gulch (Map #122), Crows Nest (Map #151), Crows Nest Butte (Map #145), Juniper

Butte (Map #147), Juniper Ranch (Map #146), Mosquito Lake Butte (Map #148), Murphy Hot

Springs (Map #149), Pot Hole Butte (Map #130), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

282.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, and again on December 18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee

County Commissioner Minutes, Book 11 at pages 256-258, dated June 14, 1948; see also

Owyhee County Commissioner Minutes, Book 11 at pages 56-57, dated December 18, 1950.

283.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

284.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
COMPLAINT                                                                                           79
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on Map Sheet 5 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969 and 1975.

285.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Castleford Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

286.   (30) Indian Cove Bridge Road

287.   The Indian Cove Bridge Road is more specifically illustrated on the “Final Map”

identified as Indian Cove (Map #128), which is available online at Owyhee County’s official

website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).
COMPLAINT                                                                                       80
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288.    This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

289.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Commissioner

Minutes dating from 1949 to 1964; (c) Owyhee County Resolution No. 94-03 dated February 14,

1994; (d) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (e)

Owyhee County Resolution 2011-01 dated January 4, 2011; (f) Owyhee County Resolution

2011-21 dated September 12, 2011; and (g) Owyhee County Resolution 2017-21 dated July 3,

2017.

290.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Indian Cove Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

291.    (31) Rye Patch Road

292.    The Rye Patch Road is more specifically illustrated on the “Final Map” identified as

Oreana (Map #67), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).




COMPLAINT                                                                                       81
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293.   This Road was created by a positive act of acceptance by Owyhee County on December

9, 1974, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 190-192, dated December 9, 1974.

294.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 29, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

295.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of
COMPLAINT                                                                                           82
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Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Commissioner Minutes

dated December 9, 1974.

296.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Rye Patch Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

297.    (32) State Highway 51

298.   The State Highway 51 is more specifically illustrated on the “Final Map” identified as

Bruneau (Map #112), Bruneau Dunes (Map #120), Grasmere (Map #108), Grasmere Reservoir

(Map #109), Hole In Rock (Map #106), Little Blue Table (Map #101), Little Valley (Map #105),

Riddle (Map #102), Sugar Valley (Map #113), Wickahoney Crossing (Map #107), which are

available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

299.   This Road was created by a positive act of acceptance by Owyhee County on June 14,

1948, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner Minutes,

Book 11 at pages 256-258, dated June 14, 1948.

300.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) BLM Land Patent to Idaho Parks
COMPLAINT                                                                                          83
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and Recreation dated July 19, 1984, wherein Owyhee County was given notice of a change in

ownership in a parcel of land where a portion of the State Highway 51 right-of-way crossed the

land; (c) Owyhee County Commissioner Minutes dating from 1949 to 1952; (d) Owyhee County

Resolution No. 94-03 dated February 14, 1994; (e) Owyhee County Application of Assertion of

Right of Way dated March 28, 1994; (f) Owyhee County Resolution 2011-01 dated January 4,

2011; (g) Owyhee County Resolution 2011-21 dated September 12, 2011; (h) Owyhee County

Resolution 2017-21 dated July 3, 2017; and (i) Owyhee County Annual Maintenance or

Inventory Maps in 1960 and 1976.

301.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the State Highway 51 Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

                       B. THREE CREEK GOOD ROAD DISTRICT

302.   (33) Balanced Rock Road.

303.   The Balanced Rock Road is more specifically illustrated on the “Final Map” identified as

Coonskin Butte NE (Map #158) which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

304.   This Road was created by a positive act of acceptance by Owyhee County on December

18, 1950, as provided for in Idaho Code § 40-202(3). See Owyhee County Commissioner

Minutes, Book 11 at pages 56-57, dated December 18, 1950.


COMPLAINT                                                                                          84
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305.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between December 18, 1950, and October 21, 1976, and even through the date of this

Report, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 5 on such Application; (c) Owyhee County Resolution No. 94-03 dated February

14, 1994; (d) Owyhee County Application of Assertion of Right of Way dated March 28, 1994;

(e) Owyhee County Resolution 2011-01 dated January 4, 2011; (f) Owyhee County Resolution

2011-21 dated September 12, 2011; (g) Owyhee County Resolution 2017-21 dated July 3, 2017;

(h) Owyhee County Commissioner Minutes dated December 18, 1950; (i) Owyhee County

Annual Maintenance or Inventory Maps in 1969, 1970, and 1975; (j) statements issued by Chet

Brackett, specifically that Airport Road “. . .received maintenance twice a year, were graded,

drained and had borrow pits. These were official roads that were turned into the State of Idaho

for maintenance reimbursement” dated January 31, 2017; (k) public comments issued by Chet

Brackett, specifically that Airport Road received maintenance in 1968, dated January 23, 2017;

(l) BLM grant of right of way TCGRD dated February 20, 1992 under IDI 16779; and (m) BLM

Land Patent wherein Owyhee County was given notice of a change in ownership in a parcel of

land where a portion of the Balanced Rock Road right-of-way crossed the land dated March 6,

1989 at page 9-10.

306.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at the time of trial, the Balanced Rock Road -- as it exists across the lands

owned by USA -- is a “public right-of-way” under Idaho State law with all the rights and

privileges allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per

Idaho Code § 40-2312(2).
COMPLAINT                                                                                          85
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   FIFTH CLAIM FOR RELIEF – VALIDATE “PUBLIC[S] RIGHT-OF-WAY” VIA
  PUBLIC USE & MAINTANENACE AND VIA GRANT BY THE U.S. DEPARTMENT
           OF THE INTERIOR, BUREAU OF LAND MANAGEMENT

307.   Plaintiffs reallege and incorporate by reference paragraphs 1-78 herein.

308.   Defendant disputes Plaintiffs’ title, 28 U.S.C. § 2409a(a); characterizing the Plaintiffs’

assertions under R.S. 2477 as only “inchoate rights”. E.g. Owyhee County, Idaho, 179 IBLA at

28.

309.   Plaintiffs disagree.

310.   The several public rights-of-way alleged in this Fifth Claim for Relief were created by

compliance with the road creation statute in existence on and after June 14, 1948, but before

October 21, 1976, as provided for in Idaho Code § 40-202(3), which states in applicable part that

“all highways used for a period of five (5) years, provided they shall have been worked and kept

up at the expense of the public … are highways.” See also Idaho Code § 40-114(3)

(“‘Maintenance’ means to preserve from failure or decline, or repair, refurbish, repaint or

otherwise keep an existing … public right-of-way in a suitable state for use including, without

limitation, snow removal, sweeping, litter control, weed abatement and placement or repair of

public safety signage.”)

311.   These same public rights-of-way alleged in this Fifth Claim for Relief were also created

by a grant issued by the USA, through BLM, as modified, in part, over time due to changes in

land status of some public lands in Owyhee County, as part of BLM’s own right-of-way file IDI

020724.

312.   These several public rights-of-way are individually and separately alleged in the sub-

claims for relief below, as within the jurisdiction of Plaintiff Owyhee County, Plaintiff TCGRD,

and Plaintiff GHD. Each road intends to be its own separate sub-claim for relief.
COMPLAINT                                                                                           86
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                                    A. OWYHEE COUNTY

313.    (34) Black Sands Road

314.    The Black Sands Road is more specifically illustrated on the “Final Map” identified as CJ

Strike (Map #104), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

315.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

316.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724.

317.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) Owyhee County Annual Maintenance or Inventory Maps in 1969 and

1976.

318.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Black Sands Road -- as it exists across the lands owned by USA -

- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.
COMPLAINT                                                                                        87
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319.   (35) Bruneau Sand Dunes Road

320.   The Bruneau Sand Dunes Road is more specifically illustrated on the “Final Map”

identified as Bruneau Dunes (Map #120), which is available online at Owyhee County’s official

website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).

321.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

322.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

323.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated
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January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1968, 1969 and 1976.

324.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Bruneau Sand Dunes Road -- as it exists across the lands owned

by USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

325.   (36) Cottonwood Road

326.   The Cottonwood Road is more specifically illustrated on the “Final Map” identified as CJ

Strike (Map #104), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

327.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

328.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

329.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka
COMPLAINT                                                                                         89
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Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994 (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, and 1976; and (k) email from C. Werven, Realty Specialist for

the BLM, dated January 31, 2011 stating Owyhee County claimed Cottonwood Road “. . . as part

of the R.S.-2477 assertion filed with the BLM and it was recognized as a pre-FLPMA existing

road Right-of-Way for public transportation purposes.”

330.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Cottonwood Road -- as it exists across the lands owned by USA -

- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

331.    (37) Crane Falls Road

332.    The Crane Falls Road is more specifically illustrated on the “Final Map” identified as

Bruneau (Map #112), which is available online at Owyhee County’s official website:


COMPLAINT                                                                                        90
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https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

333.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

334.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

335.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1968, 1969, 1974, 1975, and 1976.
COMPLAINT                                                                                       91
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336.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Crane Falls Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

337.    (38) Falls Road

338.    The Falls Road is more specifically illustrated on the “Final Map” identified as Bruneau

(Map #112), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

339.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

340.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

341.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,
COMPLAINT                                                                                          92
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1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1968, 1969 and 1976.

342.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Falls Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

343.    (39) Horse Butte Road

344.    The Horse Butte Road is more specifically illustrated on the “Final Map” identified as

Coonskin Butte (Map #153), Crows Nest (Map #151), Crows Nest Butte (Map #145), Horse

Butte (Map #152), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

345.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

346.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.
COMPLAINT                                                                                           93
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347.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 5 and Map Sheet 9 on such Application; (c) Short Note Transmittal dated April 2,

1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under

authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1975; and (k) Statements by Chet Brackett signed January 31, 2017, wherein

use and maintenance is discussed.

348.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Horse Butte Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.
COMPLAINT                                                                                          94
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349.    (40) Mormon Boulevard Road

350.   The Mormon Boulevard Road is more specifically illustrated on the “Final Map”

identified as CJ Strike (Map #104), which is available online at Owyhee County’s official

website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).

351.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

352.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724.

353.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) BLM Land Patent to David L.

Lahtinen and Barbara M. Lahtinen dated August 9, 1996, wherein Owyhee County was given

notice of a change in ownership in a parcel of land where a portion of the Mormon Boulevard

right-of-way crossed the land; (c) Owyhee County Resolution No. 94-03 dated February 14,

1994; (d) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (e)

Owyhee County Resolution 2011-01 dated January 4, 2011; (f) Owyhee County Resolution

2011-21 dated September 12, 2011; (g) Owyhee County Resolution 2017-21 dated July 3, 2017;

and (h) Owyhee County Annual Maintenance or Inventory Maps in 1968, 1969 and 1976.

354.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Mormon Boulevard Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges


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allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

355.   (41) Pothole Road

356.   The Pothole Road is more specifically illustrated on the “Final Map” identified as Black

Butte West (Map #138), Indian Cove (Map #128), Pence Butte (Map #129), Pot Hole Butte

(Map #130), Pot Hole Canyon (Map #137), which are available online at Owyhee County’s

official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

357.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

358.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

359.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 5 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-
COMPLAINT                                                                                       96
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20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1970, 1975, and 1976.

360.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Pothole Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

361.    (42) Robinson Road

362.    The Robinson Road is more specifically illustrated on the “Final Map” identified as

Castle Butte (Map #77), Jackass Butte (Map #86), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

363.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

364.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

365.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated
COMPLAINT                                                                                          97
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March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 3 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) BLM C.

Miracle Letter and Envirosafe Land Patent wherein Owyhee County was given notice of a

change in ownership in a parcel of land where a portion of the Robinson Road right-of-way

crossed the land dated May 10, 1996; (f) Owyhee County Resolution No. 94-03 dated February

14, 1994; (g) Owyhee County Application of Assertion of Right of Way dated March 28, 1994;

(h) Owyhee County Resolution 2011-01 dated January 4, 2011; (i) Owyhee County Resolution

2011-21 dated September 12, 2011; (j) Owyhee County Resolution 2017-21 dated July 3, 2017;

(k) Owyhee County Annual Maintenance or Inventory Maps in 1967, 1969 and 1976; (l)

statement from M. Robinson dated March 31, 2016, as to use and maintenance; and (m)

statement from C. Boland dated March 31, 2016, as to use and maintenance.

366.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Robinson Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.
COMPLAINT                                                                                          98
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367.     (43) Ruby to Silver Road

368.     The Ruby to Silver Road is more specifically illustrated on the “Final Map” identified as

Silver City (Map #45), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

369.     This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

370.     This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724.

371.     This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Citizen Affidavits in which Linda Jantz, Carol Leonard, Paul Nettleton,

Jim Hyslop, Pat Ihli, Jerry Hoagland, and Jan Beckwith state that they personally traveled on

Ruby to Silver Road, owned property surrounding the Road, or witnessed Owyhee County

maintaining the Road, dated July 16, 2016; (h) Owyhee County Annual Maintenance or

Inventory Maps in 1957, 1960, 1969 and 1976; and (i) C. Kingston Letter dated April 6, 1990,

wherein the Ruby to Silver City Road was recognized by the BLM as part of right-of-way IDI-

20724.


COMPLAINT                                                                                         99
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372.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Ruby to Silver Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

373.    (44) Soldier Cap Unnamed Road 06S08E18

374.    The Soldier Cap Unnamed Road 06S08E18 is more specifically illustrated on the “Final

Map” identified as Indian Cove (Map #128), Pence Butte (Map #129), Pot Hole Canyon (Map

#137), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

375.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

376.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

377.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 5 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee
COMPLAINT                                                                                        100
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County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1969 and 1976.

378.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Soldier Cap Unnamed Road 06S08E18 -- as it exists across the

lands owned by USA -- is a “public right-of-way” under Idaho State law with all the rights and

privileges allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e.,

30-feet on each side of center line.

379.   (45) Steiner Road

380.   The Steiner Road is more specifically illustrated on the “Final Map” identified as Sugar

Valley (Map #113), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

381.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

382.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.
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383.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1973 and 1976; and (k) K. Steiner Letter stating that Owyhee County

periodically maintained Steiner Road, dated May 17, 2016.

384.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Steiner Road-- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.
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385.   (46) Wilson Cemetery Road

386.   The Wilson Cemetery Road is more specifically illustrated on the “Final Map” identified

as Wilson Peak (Map #43), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

387.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

388.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

389.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 1 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated
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January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Map in 1969.

390.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Wilson Cemetery Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

391.   (47) Wilson Creek Road

392.   The Wilson Creek Road is more specifically illustrated on the “Final Map” identified as

Wilson Peak (Map #43), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

393.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

394.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

395.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 1 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka
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Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1974, 1975 and 1976; and (k) Richard Brandau Affidavit dated July 25, 2016

stating that the Wilson Creek Road was used by the public between 1948 and 1976, specifically

for property access, access for firefighters and used by hunters, additionally, the BLM used

county funds to pave portions of the road.

396.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Wilson Creek Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

                        B. THREE CREEK GOOD ROAD DISTRICT

397.    (48) Airport Road

398.    The Airport Road is more specifically illustrated on the “Final Map” identified as

Murphy Hot Springs (Map #149), which is available online at Owyhee County’s official website:
COMPLAINT                                                                                        105
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https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

399.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

400.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724.

401.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Three Creek Highway District Annual Maintenance or Inventory Maps in

1962, 1975 and 1976; (h) Chet Brackett Affidavit wherein he stated that Airport Road was

“[g]raded annually to maintain access to state funded airport” dated March 3, 2017; (i)

statements issued by Chet Brackett, specifically that Airport Road “. . .received maintenance

twice a year, were graded, drained and had borrow pits. These were official roads that were

turned into the State of Idaho for maintenance reimbursement” dated January 31, 2017; and (j)

public comments issued by Chet Brackett, specifically that Airport Road received maintenance

in 1968, dated January 23, 2017.

402.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Airport Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under
COMPLAINT                                                                                       106
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Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

403.    (49) Big Bend Road

404.    The Big Bend Road is more specifically illustrated on the “Final Map” identified as Big

Bend Crossing (Map #159), Coonskin Butte (Map #153), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

405.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

406.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

407.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; Owyhee County Resolution No. 94-03 dated February 14, 1994; (e)
COMPLAINT                                                                                          107
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Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (f) Owyhee

County Resolution 2011-01 dated January 4, 2011; (g) Owyhee County Resolution 2011-21

dated September 12, 2011; (h) Owyhee County Resolution 2017-21 dated July 3, 2017; (i)

statements issued by Chet Brackett, specifically that Big Bend Road was “. . . used annually and

continually from 1948 through 1976” and “maintained as needed, certainly more than 5 times

between 1948 and 1976” dated January 31, 2017; and (j) public comments issued by Chet

Brackett, specifically that Big Bend Road received maintenance, dated January 23, 2017.

408.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Big Bend Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

409.    (50) Blossom Lane Road

410.    The Blossom Lane Road is more specifically illustrated on the “Final Map” identified as

Three Creek (Map #155), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

411.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

412.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

413.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this
COMPLAINT                                                                                          108
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Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; Owyhee County Resolution No. 94-03 dated February 14, 1994; (e)

Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (f) Owyhee

County Resolution 2011-01 dated January 4, 2011; (g) Owyhee County Resolution 2011-21

dated September 12, 2011; (h) Owyhee County Resolution 2017-21 dated July 3, 2017; (i) Three

Creek Highway District Annual Maintenance or Inventory Maps in 1960, 1962, 1964, 1969,

1975 and 1976; and (j) statements issued by Chet Brackett, specifically that Blossom Lane Road

“. . . received maintenance twice a year, [was] graded, drained, had borrow pits [and] were

official roads that were turned into the State of Idaho for maintenance reimbursement” dated

January 31, 2017.

414.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Blossom Lane Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).
COMPLAINT                                                                                        109
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415.   (51) Crawfish Loop Road

416.   The Crawfish Loop Road is more specifically illustrated on the “Final Map” identified as

Salls Crossing (Map #154), Three Creek (Map #155), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

417.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

418.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

419.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution
COMPLAINT                                                                                       110
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2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1960, 1961,

1962, 1964, 1968, 1969, 1975 and 1976; (k) statements issued by Chet Brackett, specifically that

Crawfish Loop Road “. . .received maintenance twice a year, were graded, drained and had

borrow pits. These were official roads that were turned into the State of Idaho for maintenance

reimbursement” dated January 31, 2017; and (l) public comments issued by Chet Brackett,

specifically that Crawfish Loop Road was scheduled for a validation hearing, dated January 23,

2017.

420.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Crawfish Loop Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

421.    (52) Deadwood Lane Road

422.    The Deadwood Lane Road is more specifically illustrated on the “Final Map” identified

as Curtis Draw (Map #161), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

423.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

424.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.


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425.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1960, 1962, 1964,

1969, 1975 and 1976; (k) statements issued by Chet Brackett, specifically that Deadwood Lane

Road “. . .received maintenance twice a year, were graded, drained and had borrow pits. These

were official roads that were turned into the State of Idaho for maintenance reimbursement”

dated January 31, 2017; and (l) public comments dated January 23, 2017, issued by Chet

Brackett, specifically that Deadwood Lane was given to Owyhee County for maintenance from

the BLM.


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426.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Deadwood Lane Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

427.   (53) Elk Mountain Road

428.   The Elk Mountain Road is more specifically illustrated on the “Final Map” identified as

Three Creek (Map #155), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

429.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

430.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

431.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee
COMPLAINT                                                                                       113
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County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1960, 1961,

1962, 1964, 1965, 1969, 1975 and 1976; (k) statements issued by Chet Brackett, specifically that

Elk Mountain Road “. . .received maintenance twice a year, were graded, drained and had

borrow pits. These were official roads that were turned into the State of Idaho for maintenance

reimbursement” dated January 31, 2017; and (l) public comments issued by Chet Brackett,

specifically that Crawfish Loop Road was scheduled for a validation hearing, dated January 23,

2017.

432.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Elk Mountain Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

433.    (54) Grassy Hills Road

434.    The Grassy Hills Road is more specifically illustrated on the “Final Map” identified as

Coonskin Butte (Map #153), Grassy Hills (Map #160), Salls Crossing (Map #154), which are

available online at Owyhee County’s official website:


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https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

435.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

436.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

437.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1975; (k)

statements issued by Chet Brackett, specifically that Grassy Hills Road was “. . . used annually
COMPLAINT                                                                                       115
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and continually from 1948 through 1976” and “maintained as needed, certainly more than 5

times between 1948 and 1976” dated January 31, 2017; and (l) public comments issued by Chet

Brackett, specifically that portions of Grassy Hills Road was maintained as needed, dated

January 23, 2017.

438.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Grassy Hills Road -- as it exists across the lands owned by USA -

- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

439.    (55) Horse Butte Road

440.    The Horse Butte Road is more specifically illustrated on the “Final Map” identified as

Coonskin Butte (Map #153), Crows Nest (Map #151), Crows Nest Butte (Map #145), Horse

Butte (Map #152), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

441.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

442.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

443.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short
COMPLAINT                                                                                        116
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Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1975; and (k)

statements issued by Chet Brackett, specifically that Horse Butte Road was “. . . used annually

and continually from 1948 through 1976” and “maintained as needed, certainly more than 5

times between 1948 and 1976” dated January 31, 2017;

444.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Horse Butte Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

445.    (56) Jarbidge Canyon Road

446.    The Jarbidge Canyon Road is more specifically illustrated on the “Final Map” identified

as Dishpan (Map #143), Murphy Hot Springs (Map #149), which are available online at Owyhee
COMPLAINT                                                                                          117
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County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

447.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

448.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

449.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1960, 1962,

1964, 1969, 1970, 1971, 1975 and 1976; (k) statements issued by Chet Brackett, specifically that
COMPLAINT                                                                                       118
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Jarbidge Canyon Road “. . . received maintenance twice a year, [was] graded, drained, had

borrow pits [and] were official roads that were turned into the State of Idaho for maintenance

reimbursement” dated January 31, 2017; and (l) public comments issued by Chet Brackett,

specifically that Jarbidge Canyon Road received some maintenance from Owyhee County, dated

January 23, 2017.

450.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Jarbidge Canyon Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

451.   (57) Pole Creek Road

452.   The Pole Creek Road is more specifically illustrated on the “Final Map” identified as

Three Creek (Map #155) which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

453.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

454.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

455.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short
COMPLAINT                                                                                         119
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Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1962, 1964,

1969, 1975 and 1976; and (k) statements issued by Chet Brackett, specifically that Pole Creek

Road “. . . received maintenance twice a year, [was] graded, drained, had borrow pits [and] were

official roads that were turned into the State of Idaho for maintenance reimbursement” dated

January 31, 2017.

456.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Pole Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

457.    (58) Salls Road


COMPLAINT                                                                                          120
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458.   The Salls Road is more specifically illustrated on the “Final Map” identified as Mosquito

Lake Butte (Map #148), Salls Crossing (Map #154), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

459.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

460.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

461.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;
COMPLAINT                                                                                       121
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(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1960, 1962,

1964, 1968, 1969, 1970, 1971, 1975 and 1976; and (k) statements issued by Chet Brackett,

specifically that Salls Road “. . . received maintenance twice a year, [was] graded, drained, had

borrow pits [and] were official roads that were turned into the State of Idaho for maintenance

reimbursement” dated January 31, 2017.

462.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Salls Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

463.    (59) Summer Camp Road

464.    The Summer Camp Road is more specifically illustrated on the “Final Map” identified as

Three Creek (Map #155), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

465.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

466.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

467.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short
COMPLAINT                                                                                           122
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Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1962, 1964, 1969,

1975, and 1976; (k) statements issued by Chet Brackett, specifically that Summer Camp Road “.

. . received maintenance twice a year, [was] graded, drained, had borrow pits [and] were official

roads that were turned into the State of Idaho for maintenance reimbursement” dated January 31,

2017; and (l) public comments issued by Chet Brackett, specifically that Summer Camp Road

received some maintenance from Owyhee County, dated January 23, 2017.

468.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Summer Camp Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

469.   (60) Three Creek Road
COMPLAINT                                                                                      123
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470.   The Three Creek Road is more specifically illustrated on the “Final Map” identified as

Curtis Draw (Map #161), Murphy Hot Springs (Map #149), Three Creek (Map #155), which are

available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

471.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

472.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

473.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution
COMPLAINT                                                                                       124
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2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps in 1958, 1962, 1964,

1965, 1967, 1968, 1969, 1970, 1975 and 1976; (k) BLM Grant IDI-12975 dated July 8, 1991; (l)

IDI-2213 dated December 30, 1991; and (m) IDI-9423 dated February 20, 1992; (n)

Commissioner minutes dated December, 13, 1954.

474.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Three Creek Road -- as it exists across the lands owned by USA -

- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side

of center line.

475.    (61) Walters Road

476.    The Walters Road is more specifically illustrated on the “Final Map” identified as Three

Creek (Map #155), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

477.    This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

478.    This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

479.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short
COMPLAINT                                                                                       125
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Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)

Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

(j) Three Creek Highway District Annual Maintenance or Inventory Maps 1960, 1962, 1964,

1969, 1975 and 1976; (k) statements issued by Chet Brackett, specifically that Walters Road “. . .

received maintenance twice a year, [was] graded, drained, had borrow pits [and] were official

roads that were turned into the State of Idaho for maintenance reimbursement” dated January 31,

2017; and (l) public comments issued by Chet Brackett, specifically that Summer Camp Road

received some maintenance from Owyhee County, dated January 23, 2017.

480.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Walters Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.


COMPLAINT                                                                                          126
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                               C. GEM HIGHWAY DISTRICT

481.   (62) Rats Nest/Clark Road

482.   The Rates Nest/Clark Road is more specifically illustrated on the “Final Map” identified

as Opalene Gulch (Opalene) (Map #30), which is available online at Owyhee County’s official

website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).

483.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

484.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

485.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Short

Note Transmittal dated April 2, 1984, from Sally Carpenter, Boise District BLM, wherein it was

documented the “posting to the MTPs” aka Master Title Plats, the rights-of-way under file I-

20724 as “roads constructed under authority of R.S. 2477.”; (d) Letter from Oscar Anderson,

Owyhee Field Office Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt

of Owyhee County Application dated March 29, 1984, and wherein BLM advised Owyhee

County that “the official records are being noted to show that the public roads indicated on your

maps are now authorized by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each

side of existing centerline; (e) Owyhee County Resolution No. 94-03 dated February 14, 1994;

(f) Owyhee County Application of Assertion of Right of Way dated March 28, 1994; (g)
COMPLAINT                                                                                       127
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Owyhee County Resolution 2011-01 dated January 4, 2011; (h) Owyhee County Resolution

2011-21 dated September 12, 2011; (i) Owyhee County Resolution 2017-21 dated July 3, 2017;

and (j) Gem Highway District Annual Maintenance or Inventory Maps in 1958, 1961, 1969,

1972 and 1976.

486.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Rats Nest/Clark Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on

each side of center line.

487.   (63) Sommer Camp Road

488.   The Sommer Road is more specifically illustrated on the “Final Map” identified as

Opalene Gulch (Opalene) (Map #30), which is available online at Owyhee County’s official

website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).

489.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

490.   This Road was given R.S. 2477 status by grant issued by the USA, through BLM, via its

right-of-way file IDI-020724, on April 3, 1984.

491.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (d) Owyhee County Application of
COMPLAINT                                                                                         128
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Assertion of Right of Way dated March 28, 1994; (e) Owyhee County Resolution 2011-01 dated

January 4, 2011; (f) Owyhee County Resolution 2011-21 dated September 12, 2011; (g) Owyhee

County Resolution 2017-21 dated July 3, 2017; (h) Gem Highway District Annual Maintenance

or Inventory Maps in 1958, 1961, 1966, 1969, and 1976; (i) Short Note Transmittal dated April

2, 1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to

the MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed

under authority of R.S. 2477.”; and (j) Letter from Oscar Anderson, Owyhee Field Office

Manager, BLM, to Owyhee County, wherein BLM acknowledges receipt of Owyhee County

Application dated March 29, 1984, and wherein BLM advised Owyhee County that “the official

records are being noted to show that the public roads indicated on your maps are now authorized

by Right-of-Way I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing

centerline;

492.    Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Sommer Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 60 feet in width, i.e., 30-feet on each side of

center line.

      SIXTH CLAIM FOR RELIEF – VALIDATE “PUBLIC[S] RIGHT-OF-WAY” VIA
                       PUBLIC USE & MAINTANENACE

493.    Plaintiffs reallege and incorporate by reference paragraphs 1-78 herein.

494.    Defendant disputes Plaintiffs’ title, 28 U.S.C. § 2409a(a); characterizing the Plaintiffs’

assertions under R.S. 2477 as only “inchoate rights”. E.g. Owyhee County, Idaho, 179 IBLA at

28.

COMPLAINT                                                                                            129
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495.   Plaintiffs disagree.

496.   The several public rights-of-way alleged in this Sixth Claim for Relief were created by

compliance with the road creation statute in existence on and after June 14, 1948, but before

October 21, 1976, as provided for in Idaho Code § 40-202(3), which states in applicable part that

“all highways used for a period of five (5) years, provided they shall have been worked and kept

up at the expense of the public … are highways.” See also Idaho Code § 40-114(3)

(“‘Maintenance’ means to preserve from failure or decline, or repair, refurbish, repaint or

otherwise keep an existing … public right-of-way in a suitable state for use including, without

limitation, snow removal, sweeping, litter control, weed abatement and placement or repair of

public safety signage.”)

497.   These several public rights-of-way are individually and separately alleged in the sub-

claims for relief below, as within the jurisdiction of Plaintiff Owyhee County, Plaintiff TCGRD,

and Plaintiff GHD. Each road intends to be its own separate sub-claim for relief.

                                    A. OWYHEE COUNTY

498.   (64) Blackstone Grasmere Road

499.   The Blackstone Grasmere Road is more specifically illustrated on the “Final Map”

identified as Austin Butte (Map #123), Blackstone Reservoir (Map #116), Broken Wagon Flat

(Map #114), Buster Butte (Map #117), Cave Draw (Map #124), Crowbar Gulch (Map #122),

Grasmere Reservoir (Map #109), Hot Springs (Map #121), Sugar Valley (Map #113), Table

Butte (Map #115), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).


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500.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

501.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of this Report, as

demonstrated by: (a) continued public use; (b) Owyhee County Application dated March 29,

1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated on Map

Sheet 4 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960 and 1969.

502.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at time of the hearing on February 28, 2020, the Blackstone Grasmere Road -

- as it exists across the lands owned by USA -- is a “public right-of-way” under Idaho State law


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with all the rights and privileges allowed under Idaho State law and R.S. 2477, within a scope of

50 feet in width, as per Idaho Code § 40-2312(2).

503.    (65) Buckhorn Road

504.   The Buckhorn Road is more specifically illustrated on the “Final Map” identified as

Buckhorn (Map #110), Riddle (Map #102), which are available online at Owyhee County’s

official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

505.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

506.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

507.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 7 and Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2,

1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under
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authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1971, 1972, 1975 and 1976.

508.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Buckhorn Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

509.   (66) Coonskin Road

510.   The Coonskin Road is more specifically illustrated on the “Final Map” identified as

Castleford Butte (Map #157), Coonskin Butte (Map #153), Crows Nest (Map #151), and Horse

Butte (Map #152), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

511.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).
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512.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of this Report, as

demonstrated by: (a) continued public use; (b) Owyhee County Application dated March 29,

1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Owyhee County

Resolution No. 94-03 dated February 14, 1994; (d) Owyhee County Application of Assertion of

Right of Way dated March 28, 1994; (e) Owyhee County Resolution 2011-01 dated January 4,

2011; (f) Owyhee County Resolution 2011-21 dated September 12, 2011; (g) Owyhee County

Resolution 2017-21 dated July 3, 2017; (h) Three Creek Highway District Annual Maintenance

or Inventory Maps in 1975; (i) statements issued by Chet Brackett, specifically that Coonskin

Road was “used annually and continually from 1948 through 1976 [and] maintained as needed,

certainly more than five times between 1948 and 1976.” Dated January 31, 2017; and (j) public

comments issued by Chet Brackett, specifically that Owyhee County was responsible for

maintenance on Coonskin Road, dated January 23, 2017.

513.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at time of trial, the Coonskin Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

514.   (67) Crows Nest Road

515.   The Crows Nest Road is more specifically illustrated on the “Final Map” identified as

Black Butte East (Map #144), Crows Nest (Map #151), Crows Nest Butte (Map #145), and

Crows Nest NE (Map #156), which is available online at Owyhee County’s official website:


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https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

516.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

517.    This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of this Report, as

demonstrated by: (a) continued public use; (b) Owyhee County Application dated March 29,

1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated on Map

Sheet 5 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (c) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (d) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (e) Owyhee County Resolution 2011-01 dated

January 4, 2011; (f) Owyhee County Resolution 2011-21 dated September 12, 2011; (g) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (h) Owyhee County Annual Maintenance or

Inventory Maps in 1969, 1971, 1975 and 1976.

518.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Crows Nest Road -- as it exists across the lands owned by USA --
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is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

519.   (68) Duncan Butte

520.   The Duncan Butte Road is more specifically illustrated on the “Final Map” identified as

Grasmere (Map #108), Hill Pasture (Map #99), Lost Valley (Map #82), Turner Table (Map #91),

Wickahoney Crossing (Map #107), which are available online at Owyhee County’s official

website: https://owyheecounty.net/departments/community-development/rs2477-project/ (last

checked on January 21, 2021 @ 2:45 P.M.).

521.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

522.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

523.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 7 and Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2,
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1984, from Sally Carpenter, Boise District BLM, wherein it was documented the “posting to the

MTPs” aka Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under

authority of R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM,

to Owyhee County, wherein BLM acknowledges receipt of Owyhee County Application dated

March 29, 1984, and wherein BLM advised Owyhee County that “the official records are being

noted to show that the public roads indicated on your maps are now authorized by Right-of-Way

I-20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969 and 1975; and (k) email from M. Rieske to M. Huff discussing

production of a shape file showing the roads Northwest Pipeline LLC has traditionally used to

access their pipeline Right-of-Way for maintenance and repairs dated April 24, 2017.

524.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Duncan Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

525.   (69) Mary’s Creek Road

526.   The Mary’s Creek Road is more specifically illustrated on the “Final Map” identified as

Buster Butte (Map #117), Grasmere Reservoir (Map #109), which are available online at


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Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

527.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

528.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

529.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee
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County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1975 and 1976.

530.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Mary’s Creek Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

531.    (70) McDonald Creek Road

532.   The McDonald Creek Road is more specifically illustrated on the “Final Map” identified

as Black Leg Creek (Map #119), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

533.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

534.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the


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omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

535.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1975 and 1976.

536.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the McDonald Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under


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Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).

537.    (71) Murphy Flat Road

538.   The Murphy Flat Road is more specifically illustrated on the “Final Map” identified as

Murphy (Map #55), Sinker Butte (Map #66), which are available online at Owyhee County’s

official website: https://owyheecounty.net/departments/community-development/rs2477-project/

(last checked on January 21, 2021 @ 2:45 P.M.).

539.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

540.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Owyhee County Commissioner Minutes dated July 14, 1975; and (h)

Owyhee County Annual Maintenance or Inventory Maps in 1965, 1967, 1969, 1971, 1972, 1974,

1975 and 1976.

541.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Murphy Flat Road -- as it exists across the lands owned by USA -

- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho Code § 40-

2312(2).
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542.    (72) Old Highway 95 Road

543.   The Old Highway 95 Road is more specifically illustrated on the “Final Map” identified

as Jump Creek Canyon (Jump Creek) (Map #17), Opalene Gulch (Opalene) (Map #30), which

are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

544.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

545.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) B. Holton letter stating “[t]he Old Highway 95 was in use and

maintained by the responsible highway district between the years of 1948 and 1976 and should

be listed as a Right-of-Way” dated August 12, 2016.

546.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Old Highway 95 Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width, as per Idaho

Code § 40-2312(2).

547.    (73) Pack Rat Road
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548.   The Pack Rat Road is more specifically illustrated on the “Final Map” identified as

Reynolds (Map #44), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

549.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

550.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Owyhee County Annual Maintenance or Inventory Maps in 1969; and (h)

comment from J. Hoagland dated June 20, 2016 stating that Pack Rat Road should be within the

“Red Category” because the county continuously maintained Pack Rat Road from the mid-1950s

through 1976.

551.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Pack Rat Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

552.   (74) Road #5633


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553.   The Road #5633 is more specifically illustrated on the “Final Map” identified as,

Stonehouse Creek (Map #21), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

554.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

555.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) R. Rhoades Affidavit stating Road #5633 was maintained by the Owyhee

County Highway District road crew which included smoothing the road and removing snow

dated August 27, 2016; (h) D. Smith Affidavit stating that he has knowledge that the Owyhee

County Highway District did some maintenance on Road #5633 between the years of 1948 and

1976, dated September 14, 2016; (i) S. Quintana Affidavit stating that she personally witnessed

employees of the Owyhee County Road crew, specifically Ray Gulch, assisting the Quintana

family in maintaining Road #5633, dated August 27, 2016; and (j) T. Quintana Affidavit stating

that he personally witnessed employees of the Owyhee County Road crew, specifically Ray

Gulch, assisting the Quintana family in maintaining Road #5633, dated August 30, 2018.

556.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Road #5633 -- as it exists across the lands owned by USA -- is a
COMPLAINT                                                                                       144
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“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

557.   (75) Sugar Valley Road

558.   The Sugar Valley Road is more specifically illustrated on the “Final Map” identified as

Hot Springs (Map #121), Sugar Valley (Map #113), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

559.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

560.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) Owyhee County Annual Maintenance or Inventory Maps in 1960,

1969, 1970 and 1976.

561.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Sugar Valley Road -- as it exists across the lands owned by USA -

- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 50 feet in width, i.e., as per Idaho Code §

40-2312(2).
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562.    (76) Tokenbamby Unnamed Road 15S6E33 to NV

563.   The Tokenbamby Unnamed Road 15S6E33 to NV is more specifically illustrated on the

“Final Map” identified as Black Leg Creek (Map #119), which is available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

564.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

565.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

566.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,
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1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1975 and 1976.

567.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Tokenbamby Unnamed Road 15S6E33 to NV Road -- as it exists

across the lands owned by USA -- is a “public right-of-way” under Idaho State law with all the

rights and privileges allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in

width, as per Idaho Code § 40-2312(2).

568.    (77) Unnamed Road 16S6E5

569.   The Unnamed Road 16S6E5 is more specifically illustrated on the “Final Map” identified

as Black Leg Creek (Map #119), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

570.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

571.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way
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grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

572.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; and (j) Owyhee County Annual Maintenance or

Inventory Maps in 1960, 1969, 1975 and 1976.

573.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Unnamed Road 16S6E5 Road -- as it exists across the lands
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owned by USA -- is a “public right-of-way” under Idaho State law with all the rights and

privileges allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width, as

per Idaho Code § 40-2312(2).

                       B. THREE CREEK GOOD ROAD DISTRICT

574.   (78) Coonskin Road

575.   The Coonskin Road is more specifically illustrated on the “Final Map” identified as

Clover Butte N (Map # 140), Coonskin Butte NE (Map #158), Grassy Hills (Map #160), which

is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

576.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

577.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of this Report, as

demonstrated by: (a) continued public use; (b) Owyhee County Application dated March 29,

1984, wherein Owyhee County claimed R.S. 2477 status as to such road; (c) Owyhee County

Resolution No. 94-03 dated February 14, 1994; (d) Owyhee County Application of Assertion of

Right of Way dated March 28, 1994; (e) Owyhee County Resolution 2011-01 dated January 4,

2011; (f) Owyhee County Resolution 2011-21 dated September 12, 2011; (g) Owyhee County

Resolution 2017-21 dated July 3, 2017; (h) Three Creek Highway District Annual Maintenance

or Inventory Maps in 1969, 1970, and 1975; (i) statements issued by Chet Brackett, specifically

that Coonskin Road was “used annually and continually from 1948 through 1976 [and]

maintained as needed, certainly more than five times between 1948 and 1976” dated January 31,
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2017; (j) public comments issued by Chet Brackett, specifically that Owyhee County was

responsible for maintenance on Coonskin Road, dated January 23, 2017;

(k) BLM grant of right of way to TCGRD dated February 20, 1992 under IDI 16779; and (l)

BLM land patent dated March 6, 1989.

578.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Coonskin Road -- as it exists across the lands owned by USA -- is

a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

579.   (79) 7 Triangle Road

580.   The 7 Triangle Road is more specifically illustrated on the “Final Map” identified as

Three Creek (Map #155), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

581.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

582.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21


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dated July 3, 2017; and (g) Owyhee County Annual Maintenance or Inventory Maps in 1962,

1964, and 1969.

583.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the 7 Triangle Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

584.   (80) Buck Creek Road

585.   The Buck Creek Road is more specifically illustrated on the “Final Map” identified as

Dishpan (Map #143), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

586.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

587.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

588.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this
COMPLAINT                                                                                       151
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Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated

on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Three Creek Highway District Annual

Maintenance or Inventory Maps in 1960, 1961, 1962, 1964, 1969, 1975 and 1976; (k) statements

issued by Chet Brackett, specifically that Buck Creek Road “. . . received maintenance twice a

year, [was] graded, drained, had borrow pits [and] were official roads that were turned into the

State of Idaho for maintenance reimbursement” dated January 31, 2017; and (l) public comments

issued by Chet Brackett, specifically that BLM gave maintenance duties for Buck Creek Road to

Owyhee County, dated January 23, 2017.

589.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Buck Creek Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under
COMPLAINT                                                                                       152
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Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

590.   (81) Cougar Point Road

591.   The Cougar Point Road is more specifically illustrated on the “Final Map” identified as

Murphy Hot Springs (Map #149), which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

592.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

593.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that Cougar Point Road was

“[g]raded and used by Walter Wells to use semi-trucks to haul sheep from his Cougar Point

Forest Allotment, dated March 3, 2017; (h) statements issued by Chet Brackett, specifically that

Cougar Point Road was “. . .used annually and continually from 1948 through 1976 [and]

maintained as needed, certainly more than five times between 1948 and 1976.” Dated January

31, 2017; (i) public comments issued by Chet Brackett, specifically that there was a Validation

Hearing for Cougar Point Road, dated January 23, 2017; (j) Bert Brackett Affidavit in which he

states that Cougar Point Road was maintained at public expense at least between 1948 and 1976
COMPLAINT                                                                                       153
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to accommodate various ranches, dated March 8, 2017 at page 1; and (k) Three Creek FCO Inst.

in which Cougar Point Road was validated as a R.S.-2477 Right-of-Way.

594.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Cougar Point Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

595.   (82) Dishpan Rim Road

596.   The Dishpan Rim Road is more specifically illustrated on the “Final Map” identified as

Dishpan (Map #143), Murphy Hot Springs (Map #149), Poison Butte (Map #142), which are

available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

597.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

598.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that Dishpan Rim Road was

“[g]raded over two years to maintain travel surface [and] Opal Dunn used to haul water to cattle
COMPLAINT                                                                                        154
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and horses . . .” dated March 3, 2017; (h) Bert Brackett Affidavit in which he states that Dishpan

Rim Road was maintained at public expense at least between 1948 and 1976 to accommodate

various ranches, dated March 8, 2017 at page 2; (i) public comments issued by Chet Brackett,

specifically that there was a Validation Hearing for Dishpan Rim Road, dated January 23, 2017;

and (j) Three Creek FCO Inst. in which Dishpan Rim Road was validated as a R.S.-2477 Right-

of-Way.

599.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Dishpan Rim Road -- as it exists across the lands owned by USA

-- is a “public right-of-way” under Idaho State law with all the rights and privileges allowed

under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

600.   (83) Indian Hot Springs Road

601.   The Indian Hot Springs Road is more specifically illustrated on the “Final Map”

identified as Clover Butte N (Map #140), Inside Lakes (Map #133), Stiff Tree Draw (Map #132),

which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

602.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

603.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated
COMPLAINT                                                                                        155
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March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that Hot Springs Road was

“[g]raded over two years to maintain travel surface [and] used to haul water to livestock . . .”

dated March 3, 2017; (h) Chet Brackett Statements wherein he states that Indian Hot Springs

Road was “. . . used annually and continually from 1948 through 1976 [and] maintained as

needed, certainly more than five times between 1948 and 1976” dated January 31, 2017; (i) Bert

Brackett Affidavit in which he states that Hot Springs Road was maintained at public expense at

least between 1948 and 1976 to accommodate various ranches, dated March 8, 2017 at page 3;

(j) public comments issued by Chet Brackett, specifically that there was a Validation Hearing for

Hot Springs Road, dated January 23, 2017; and (k) Three Creek FCO Inst. in which Hot Springs

Road was validated as a R.S.-2477 Right-of-Way.

604.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Indian Hot Springs Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

605.   (84) Kinyon Road

606.   The Kinyon Road is more specifically illustrated on the “Final Maps” identified as

Clover Butte N (Map #140) and Clover Butte S. (Map #141) which is available online at

Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).


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607.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3). 57

608.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Three Creek Highway District Annual Maintenance or Inventory Maps in

1970, and 1975; (h) Chet Brackett Statements wherein he states that Kinyon Road was “. . . used

annually and continually from 1948 through 1976 [and] maintained as needed, certainly more

than five times between 1948 and 1976” dated January 31, 2017; (i) public comments issued by

Chet Brackett, specifically that maintenance was completed on Kinyon Road, dated January 23,

2017; see also (j) BLM grant of right of way to TCGRD dated February 20, 1992 under IDI

16779; and (k) Raft River comment dated June 20, 2017.

609.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Kinyon Road -- as it exists across the lands owned by USA -- is a

“public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

610.   (85) North Rim Road

611.   The North Rim Road is more specifically illustrated on the “Final Map” identified as

Inside Lakes (Map #133), Poison Butte (Map #142), The Arch (Map #134), which are available
COMPLAINT                                                                                       157
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online at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

612.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

613.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that North Rim Road was

“[g]raded over two years to maintain travel surface for hauling horses” dated March 3, 2017; (h)

Chet Brackett Statements wherein he states that Hot Springs Road was “. . . used annually and

continually from 1948 through 1976 [and] maintained as needed, certainly more than five times

between 1948 and 1976” dated January 31, 2017; (i) Bert Brackett Affidavit in which he states

that Hot Springs Road was maintained at public expense at least between 1948 and 1976 to

accommodate various ranches, dated March 8, 2017 at page 3; (j) public comments issued by

Chet Brackett, specifically that there was a Validation Hearing for Hot Springs Road, dated

January 23, 2017; and (k) Three Creek FCO Inst. in which Hot Springs Road was validated as a

R.S.-2477 Right-of-Way.

614.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the North Rim Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under
COMPLAINT                                                                                       158
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Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

615.   (86) Opal Dunn Road

616.   The Opal Dunn Road is more specifically illustrated on the “Final Map” identified as

Mosquito Lake Butte (Map #148), Murphy Hot Springs (Map #149) which are available online

at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

617.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

618.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that Opal Dunn Road was

“[u]sed by Opal Dunn to access Opal Dunn well to haul water to livestock . . .” dated March 3,

2017; and (h) Three Creek FCO Inst. in which Opal Dunn Road was validated as a R.S.-2477

Right-of-Way.

619.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Opal Dunn Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under


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Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

620.   (87) Opal Dunn Well Road

621.   The Opal Dunn Well Road is more specifically illustrated on the “Final Map” identified

as Dishpan (Map #143), Poison Butte (Map #142), which are available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

622.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

623.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) Chet Brackett Affidavit wherein he stated that Opal Dunn Well Road

was “[g]raded over two years to maintain travel surface for hauling horses” dated March 3, 2017.

624.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Opal Dunn Well Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

625.   (88) Post Office Road
COMPLAINT                                                                                        160
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626.   The Post Office Road is more specifically illustrated on the “Final Map” identified as

Mosquito Lake Butte (Map #148), Poison Butte (Map #142), which are available online at

Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

627.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

628.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that Post Office Road was

“[g]raded over two years to maintain travel surface for Brackett family to haul water to horses

and more cattle” dated March 3, 2017; (h) Chet Brackett Statements wherein he states that Post

Office Road was “. . . used annually and continually from 1948 through 1976 [and] maintained

as needed, certainly more than five times between 1948 and 1976” dated January 31, 2017; (i)

Bert Brackett Affidavit in which he states that Post Office Road was maintained at public

expense at least between 1948 and 1976 to accommodate various ranches, dated March 8, 2017

at page 2; (j) public comments issued by Chet Brackett, specifically that there was a Validation

Hearing for Post Office Road, dated January 23, 2017; and (k) Three Creek FCO Inst. in which

Post Office Road was validated as a R.S.-2477 Right-of-Way.


COMPLAINT                                                                                         161
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629.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Post Office Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

630.   (89) Rock Corral Road

631.   The Rock Corral Road is more specifically illustrated on the “Final Map” identified as

Clover Butte S. (Map #141), Mosquito Lake Butte (Map #148), Poison Butte (Map #142), The

Arch (Map #134), which are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

632.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

633.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; (g) Chet Brackett Affidavit wherein he stated that Rock Corral Road was “. .

. used to haul water from 3 Creek Well for livestock [and] used by Brackett family to haul horses

and was graded annually” dated March 3, 2017; (h) Chet Brackett Statements wherein he states

that Rock Corral Road was “. . .used annually and continually from 1948 through 1976 [and]
COMPLAINT                                                                                       162
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maintained as needed, certainly more than five times between 1948 and 1976” dated January 31,

2017; (i) Bert Brackett Affidavit in which he states that Rock Corral Road was maintained at

public expense at least between 1948 and 1976 to accommodate various ranches, dated March 8,

2017 at page 2; (j) public comments issued by Chet Brackett, specifically there was a Validation

Hearing for Rock Corral Road, dated January 23, 2017; and (k) Three Creek FCO Inst. in which

Corral Rock Road was validated as a R.S.-2477 Right-of-Way.

634.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Corral Rock Road -- as it exists across the lands owned by USA --

is a “public right-of-way” under Idaho State law with all the rights and privileges allowed under

Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho Code § 40-

2312(2).

635.   (90) Unnamed Road 16S11E3,10 off Elk Mountain

636.   The Unnamed Road 16S11E3,10 off Elk Mountain Road is more specifically illustrated

on the “Final Map” identified as Three Creek (Map #155), which is available online at Owyhee

County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

637.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

638.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee
COMPLAINT                                                                                       163
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County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) Three Creek Highway District Annual Maintenance or Inventory

Maps in 1958, 1962 and 1964.

639.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Unnamed Road 16S11E3,10 off Elk Mountain Road -- as it exists

across the lands owned by USA -- is a “public right-of-way” under Idaho State law with all the

rights and privileges allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in

width as per Idaho Code § 40-2312(2).

640.   (91) Unnamed Road 12S9E23

641.   The Unnamed Road 12S9E23 is more specifically illustrated on the “Final Map”

identified as Juniper Butte (Map #147), Mosquito Lake Butte (Map #148), which are available

online at Owyhee County’s official website: https://owyheecounty.net/departments/community-

development/rs2477-project/ (last checked on January 21, 2021 @ 2:45 P.M.).

642.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

643.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) Three Creek Highway District Annual Maintenance or Inventory

Maps in 1958 and 1969.
COMPLAINT                                                                                       164
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644.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Unnamed Road 12S9E23 -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

645.   (92) Wilkins Island Road

646.   The Wilkins Island Road is more specifically illustrated on the “Final Map” identified as

Murphy Hot Springs (Map #149) which is available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

647.   This Road was created by public use and periodic maintenance at least after June 14,

1948, but before October 21, 1976, as provided for in Idaho Code § 40-202(3).

648.   This Road was subject of an Application for Transportation and Utility Systems and

Facilities on Federal Land dated March 28, 1984, wherein Owyhee County applied for R.S. 2477

status for this road, though, under information and belief, the USA did not include a right-of-way

grant under R.S. 2477 as to this road on or after April 3, 1984, as the USA did as to other roads

subject to this complaint and right-of-way file IDI 020724. It is unknown the reason for the

omission by the USA in not including this road in right-of-way file IDI 020724, and it is

apparent to the Plaintiffs that the omission was advertent by the USA.

649.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Application dated

March 29, 1984, wherein Owyhee County claimed R.S. 2477 status as to such road, as illustrated
COMPLAINT                                                                                       165
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on Map Sheet 8 on such Application; (c) Short Note Transmittal dated April 2, 1984, from Sally

Carpenter, Boise District BLM, wherein it was documented the “posting to the MTPs” aka

Master Title Plats, the rights-of-way under file I-20724 as “roads constructed under authority of

R.S. 2477”; (d) Letter from Oscar Anderson, Owyhee Field Office Manager, BLM, to Owyhee

County, wherein BLM acknowledges receipt of Owyhee County Application dated March 29,

1984, and wherein BLM advised Owyhee County that “the official records are being noted to

show that the public roads indicated on your maps are now authorized by Right-of-Way I-

20724” with a width of 60 feet, i.e., 30 feet on each side of existing centerline; (e) Owyhee

County Resolution No. 94-03 dated February 14, 1994; (f) Owyhee County Application of

Assertion of Right of Way dated March 28, 1994; (g) Owyhee County Resolution 2011-01 dated

January 4, 2011; (h) Owyhee County Resolution 2011-21 dated September 12, 2011; (i) Owyhee

County Resolution 2017-21 dated July 3, 2017; (j) Chet Brackett Statements wherein he states

that Wilkins Island was “. . .used annually and continually from 1948 through 1976 [and]

maintained as needed, certainly more than five times between 1948 and 1976” dated January 31,

2017; (k) public comments issued by Chet Brackett, specifically that Wilkins Island Road

received some maintenance from Owyhee County, dated January 23, 2017; (l) BLM grant of

right of way to TCGRD dated February 20, 1992 under IDI 16779; and (m) Raft River comment

dated June 20, 2017.

650.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Wilkins Island Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).
COMPLAINT                                                                                        166
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                               C. GEM HIGHWAY DISTRICT

651.   (93) Old Highway 95 Road

652.   The Old Highway 95 Road is more specifically illustrated on the “Final Map” identified

as Jump Creek Canyon (Jump Creek) (Map #17), Opalene Gulch (Opalene) (Map #30), which

are available online at Owyhee County’s official website:

https://owyheecounty.net/departments/community-development/rs2477-project/ (last checked on

January 21, 2021 @ 2:45 P.M.).

653.   This Road maintained its status as public right-of-way under Idaho Law and under R.S.

2477 between June 14, 1948, and October 21, 1976, and even through the date of filing of this

Complaint, as demonstrated by: (a) continued public use; (b) Owyhee County Resolution No. 94-

03 dated February 14, 1994; (c) Owyhee County Application of Assertion of Right of Way dated

March 28, 1994; (d) Owyhee County Resolution 2011-01 dated January 4, 2011; (e) Owyhee

County Resolution 2011-21 dated September 12, 2011; (f) Owyhee County Resolution 2017-21

dated July 3, 2017; and (g) B. Holton letter stating “[t]he Old Highway 95 was in use and

maintained by the responsible highway district between the years of 1948 and 1976 and should

be listed as a Right-of-Way” dated August 12, 2016.

654.   Wherefore, based upon the foregoing evidence and such other evidence that may be

offered and proven at trial, the Old Highway 95 Road -- as it exists across the lands owned by

USA -- is a “public right-of-way” under Idaho State law with all the rights and privileges

allowed under Idaho State law and R.S. 2477, within a scope of 50 feet in width as per Idaho

Code § 40-2312(2).

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COMPLAINT                                                                                        167
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                                       PRAYER FOR RELIEF

         Wherefore, Plaintiffs pray:

(1)             Under the First Claim for Relief, the court should declare under the Federal

      Declaratory Judgment Act, 28 U.S.C. § 2201(a), that the Idaho Road Validation process

      prescribed by Idaho Code § 40-203A was legally sufficient to validate each of the roads

      identified in the Third, Fourth, Fifth, and Sixth Claims for Relief as public rights-of-

      way under R.S. 2477, as per the Plaintiffs’ Findings, Conclusions, and Order dated

      February 25, 2020.

(2)             Under the Second Claim for Relief, the court should declare under the

      Federal Declaratory Judgment Act, 28 U.S.C. § 2201(a), that the USA’s grant, through

      BLM, dated April 3, 1984, as modified, was legally sufficient to validate each of the

      roads identified in the Third and Fifth Claims for Relief as public rights-of-way under

      R.S. 2477.

(3)             In the alternative to the First and Second Claims for Relief, under the Third,

      Fourth, Fifth, and Sixth Claims for Relief, the court should quiet title under the Federal

      Quiet Title Act, 28 U.S.C. § 2409a, that the roads alleged therein are public rights-of-

      way under R.S. 2477 as a result of: (1) a “positive act of acceptance by the local

      government”, or (2) “compliance with the road creation statutes in existence at the

      time” with all the rights and privileges allowed under Idaho law and R.S. 2477.

(4)             The court declare, adjudge, or decree that the Plaintiffs, as applied within

      their respective jurisdictions, have the right and interest to maintain the several public

      rights-of-way as they cross the public lands owned by the USA consistent with Idaho

      law and R.S. 2477 without fee and without any additional authorization from the
COMPLAINT                                                                                          168
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                               EXHIBIT “A”




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                               EXHIBIT “B”




COMPLAINT                                                               172
